 Fill in this information to identify the case:

 Debtor name            Ronco Holdings, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)               18-10511
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        2,274,295.02

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        2,274,295.02


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        2,261,954.78


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           528,327.29

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        2,334,316.89


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          5,124,598.96




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name          Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)         18-10511
                                                                                                                             Check if this is an
                                                                                                                                amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                                debtor's interest

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Landlord Deposit                                                                                                      $24,422.53



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                            $24,422.53
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           410,688.29   -                                0.00 = ....                 $410,688.29
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 1
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 Debtor         Ronco Holdings, Inc.                                                                    Case number (If known) 18-10511
                Name


           11a. 90 days old or less:                                  4,320.00    -                                    0.00 = ....                    $4,320.00
                                              face amount                                 doubtful or uncollectible accounts



           11a. 90 days old or less:                                 60,477.09    -                                    0.00 = ....                  $60,477.09
                                              face amount                                 doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $475,485.38
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last                Net book value of          Valuation method used    Current value of
                                                      physical inventory              debtor's interest          for current value        debtor's interest
                                                                                      (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory                                  1/2018                                  $651,435.11        N/A                               $651,435.11



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                    $651,435.11
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                           Valuation method                                Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 2
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 Debtor         Ronco Holdings, Inc.                                                          Case number (If known) 18-10511
                Name



 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office furniture.                                                          $19,015.00     N/A                                  $19,015.00


           Office equipment.                                                          $14,876.00     N/A                                  $14,876.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $33,891.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Manufacturing equipment and tooling.                                      $181,967.00     N/A                                 $181,967.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Ronco Holdings, Inc.                                                          Case number (If known) 18-10511
                Name


 51.        Total of Part 8.                                                                                                         $181,967.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            IP, trademarks, patents.                                                 $907,094.00     N/A                                 $907,094.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                         $907,094.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Ronco Holdings, Inc.                                                          Case number (If known) 18-10511
                Name


     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Claim to avoid transfer to Anthony Sodono, III, Esq.,
           Assignee for the Benefit of Creditors of Ronco
           Holdings, Inc.                                                                                                        Scheduled Assets
           Nature of claim          Avoidance Action
           Amount requested         Non-Monetary



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                   $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor          Ronco Holdings, Inc.                                                                                Case number (If known) 18-10511
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $24,422.53

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $475,485.38

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $651,435.11

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $33,891.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $181,967.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $907,094.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,274,295.02            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,274,295.02




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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                            ACCOUNTS RECEIVABLE OF

                               RONCO HOLDINGS, INC.




       ACCOUNT DEBTOR
       NAME & ADDRESS                    AMOUNT DUE


Englewood Marketing Group, Inc.            $410,688.29
PO Box 11297
Green Bay, WI 54307

Evine Live, Inc.                           $4,320.00
6740 Shady Oak Road
Eden Prairie, MN 66344

Home Shopping Network-Direct               $60,477.09
1 HSN Drive
St. Petersburg, FL 33729




                     TOTAL ACCOUNTS RECEIVABLE           $475,485.38
                       '




 EQUIPMENT LIST OF

RONCO HOLDINGS, INC.


   SEE ATTACHED
                                    BANK ACCOUNTS OF

                                RONCO HOLDINGS, INC.




CHECKING:

JP Morgan Chase NA
2711 LaFrontera Blvd. - Suite 300
Round Rock, TX 78681

              General Business Account #923014963      ($5,744.24)
              DRTV Account#265110706                   ($249.70)



SAVINGS OR INVESTMENT ACCOUNTS

None




                     TOTAL BANK ACCOUNTS               $-0-
                     INVENTORY OF

                 RONCO HOLDINGS, INC.




              LOCATION IF
DESCRIPTION   NOT AT DEBTOR'S ADDRESS   VALUE




                     SEE ATTACHED
2/27/2018                                              RHI Data for Assignment_Norgaard - Dropbox
 ST7041RODRM                       1       3.15        3.15   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 ST704900PRT                       3                   0.00   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 ST705400PRT                      69                   0.00   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 TB2002DRM                       500    6.73684    3,368.42   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUI TE 250 AUSTIN, TEXAS 78728
 UT00100DRM                      895   10.88599    9,742.96   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 UT1001BUDRM                       9       4.34       39.06   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 UT1001GNDRM                      10       4.34       43.40   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 UT1001PUDRM                      15       4.34       65.10   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 UT1001RODRM                       9       4.34       39.06   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 UT2001BWGEN                     465   3.46763     1,612.45   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 UT2001 RDGEN                      1      2.87         2.87   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 WARRANTY                         24                   0.00   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 WB1003PUGEN                       3      4.66        13.98   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 WW1005ASGEN                     245  6.48118      1,587.89   TexasRon RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 504006                        1,270 36.09971     45,846.63     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST MANVILLE STREET COMPTON, CALIFO
 C45OMUCPM                       450  7.60829      3,423.73     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST M ANVILLE STREET COMPTON, CALIFO
 C45TCUCPM                       251  7.87052      1,975.50     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST M ANVILLE STREET COMPTON, CALIFO
 DB1002BUDRM                     665  4.36934      2,905.61     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST MANVILLE STREET COMPTON, CALIFO
 DB1002RDDRM                     665  4.36932      2,905.60     Unique UNIQUE FREIGHT TRANSPORT INC. 175 E AST M ANVILLE STREET COMPTON, CAUFO
 DO1001BUDRM                     168  6.08363      1,022.05     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST MANVILLE STREET COMPTON, CALIFO
 DD1001GNDRM                     168  6.08369      1,022.06     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST MANVILLE STREET COMPTON, CALIFO
 DO1001PKDRM                     168  6.08363      1,022.05     Unique UNIQUE FREIGHT TRANSPORT INC. 175 EAST MANVILLE STREET COMPTON, CALIFO
 504006                            8 35.46875        283.75    Warranty RONCO HOLDINGS, INC. 1S505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 561801                            2   49.225         98.45    Warranty RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 DC1003ASPRT                       1       7.5         7.50    Warranty RONCO HOLDINGS, INC. 1550S LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728
 DV1001BUDRM                      64 33.11297      2,119.23    Warranty RONCO HOLDINGS, INC. 15505 LONG VISTA DRIVE, SUITE 250 AUSTIN, TEXAS 78728




https://www.dropbox.com/home/RH1%200ata%20foro/o20Assignment_Norgaard?preview=RHl+Schedule+D+1nventory_02.22.18( 1).xis                      10/10
                                                       •




                                 OTHER PROPERTY OF

                                RONCO HOLDINGS, INC.



Intangibles - Patents & Trademarks
PATENT/TM RESPOSITORY
                                                                                                                                                                                  EXPIRATION/
                                                                                                                                        APPLICATION                    GRANTED                   MASTER
      TYPE                                               COUNTRY                   STATUS     =   DOCKET #          APPLICATION #       DATE          PATENT/REG #     DATE       RENEWAL        ID
                                                                                                                                                                                  DATE
  1    PATENTS
  2      CIRC SAW

  3          Design ( CS 650 )                           New Zealand               Inactive       INFB 200102NZ01   416179              04/20/12                                                      50254

  4          Design ( CS 450 )                           New Zealand               Inactive       INFB 200032NZ01   416178              04/20/12                                                      50253

  5          Design ( CS 450 )                           Australia                 Granted        INFB 200032AU01   119702012           04/20/12      342593           05/16/12                       50251

  6          Design ( CS 650 )                           Australia                 Granted        INFB 200102AU01   11971/2012          04/20/12      342594           05/16/12                       50256

  7          Design ( CS 650 )                           US                        Filed          INFB 200102US01   29/418,579          04/18/12                                                      50255

  8          Design ( CS 450 )                           Japan                     Granted        INFB 200032JP01   2012-10569          05/08/12      1468083          03/29/13                       50252

  9          Design ( CS 450 )                           US                        Granted        INFB 200032US01   29/359,870          04/16/10      D642,886         08/09/11   08/09/25            48348

 10          Design ( CS 650 )                           Japan                     Granted        INFB 200102JP01   2012-10570          05/08/12      1468084          03/29/13                       50257

 11          Design (Dual Force Saw)                     European Community Design Granted        INFB 200032ED01   001681917           03/16/10      001681917-0001   04/26/10   03/16/35            48340

 12          Design (Quad Blades)                        US                        Inactive       INFB 200033US01   29/359,871          04/16/10                                                      48350

 13          Design (Quad Blades)                        European Community Design Granted        INFB 200033ED01   001692229           04/08/10      001692229-0001   04/26/10   04/08/35            48341

 14          Utility                                     US                        Inactive       INFB 200097US01   13/502,596          04/18/12                                                      50326

 15                                                      Canada                    Inactive       INFB 200097CA01   PCT/CN2011/001172   07/18/11                                                      50327

 16          Utility (Double Blade Cutting Machine)      Australia                 Inactive       INFB 200097AU01   PCT/CN2011/001171   07/18/11                                                      50122

 17          Utility (Double Blade Cutting Machine)      Japan                     Inactive       INFB 200097JP01   PCT/CN2011/001173   07/18/11                                                      50173

 18          Utility (Double Blade Cutting Machine)      New Zealand               Inactive       INFB 200097NZ01   PCT/CN2011/001174   07/18/11                                                      50249

 19          Utility (Double Blade Cutting Machine)      Patent Cooperation        Inactive       INFB 200097WO01   PCT/CN2011/001176   07/18/11                                                      50228

 20          Utility (Hub Device)                        US                        Inactive       TTHS 200002US01   12/312,376          09/02/09                                                      49708

 21          Utility (Hub Device)                        Canada                    Inactive       TTHS 200002CA01   2705449             11/09/07                                                      49710

 22          Utility (Hub Device)                        China P.R.                Inactive       TTHS 200002CN01   20078045828         11/09/07      UNKNOWN          08/17/11   11/08/27            49709

 23          Utility (Hub Device)                        EPC                       Inactive       TTHS 200002EP01   07835197.0          11/09/07                                                      49711

 24          Utility (Hub Device)                        Japan                     Inactive       TTHS 200002JP01   2009-536198         11/09/07                                                      49712

 25          Utility (Pair of Saw Blades)                US                        Inactive       TTHS 200003US01   12/312,403          06/02/09                                                      49713

 26          Utility (Pair of Saw Blades)                Canada                    Inactive       TTHS 200003CA01   2705443             11/09/07                                                      49715

 27          Utility (Pair of Saw Blades)                China P.R.                Inactive       TTHS 200003CN01   20078045838         11/09/07                                                      49714

 28          Utility (Pair of Saw Blades)                EPC                       Inactive       TTHS 200003EP01   07835194.0          11/09/07                                                      49716

 29          Utility (Pair of Saw Blades)                Japan                     Inactive       TTHS 200003JP01   2009-536197         11/09/07                                                      49717

 30          Utility (Twin Saw Blade Cutter)             EPC                       Inactive       HOSH 200097EP01   PCT/CN2011/001171   07/18/11                                                      50358

 31          Utility Continuation (Pair of Saw Blades)   US                        Inactive       TTHS 200003US02   13/534,331          06/22/12                                                      50850

 32          BHUKHANWALA PATENTS
 33              Bhukhanwala Patents
 34      RECIP SAW

 35          Design (Blades)                             US                        Inactive       INFB 200135US01                                                                                     55631

 36          Design (Wobble)                             Russian Fed               Filed          INFB 200130RU01   2014501025          03/17/14                                                      55813

 37          Design (Wobble)                             Thailand                  Filed          INFB 200130TH01   1402000501          03/14/14                                                      55816

 38          Design (Wobble)                             US                        Granted        INFB 200130US01   29/467,220          09/17/13      D705,028         05/20/14                       54585

 39          Design (Wobble)                             S. Africa                 Filed          INFB 200130ZA01   F2014/00465         03/17/14                                                      55815

 40          Design (Wobble)                             Australia                 Granted        INFB 200130AU01   111942014           03/14/14      354750           04/02/14                       55803




Exported on February 28, 2018 2:42:00 PM EST                           Highlighting changes made since 09/17/14                                                                                 Page 1 of 8
                                                                                                                                                                                             EXPIRATION/
                                                                                                                                                  APPLICATION                     GRANTED                   MASTER
      TYPE                                                         COUNTRY                   STATUS     =   DOCKET #          APPLICATION #       DATE          PATENT/REG #      DATE       RENEWAL        ID
                                                                                                                                                                                             DATE
 41          Design (Wobble)                                       Canada                    Filed          INFB 200130CA01   155622              03/13/14                                                       55810

 42          Design (Wobble)                                       China P.R.                Filed          INFB 200130CN01   201430052886.5      03/17/14                                                       55809

 43          Design (Wobble)                                       European Community        Granted        INFB 200130ED01   0024225603          03/14/14      0024225603-0001   05/14/14                       55808

 44          Design (Wobble)                                       Japan                     Filed          INFB 200130JP01   2014-005614         03/17/14                                                       55806

 45          Design (Wobble)                                       Mexico                    Filed          INFB 200130MX01   14/0860             03/14/14                                                       55812

 46          Design (Wobble)                                       New Zealand               Filed          INFB 200130NZ01   418601              03/14/14                                                       55804

 47          Design (Wobble)                                       Philipines                Filed          INFB 200130PH01   3-2014-000246       03/14/14                                                       55817

 48          Utility (Cam)                                         S. Africa                 Filed          INFB 200043ZA01   2014/02070          08/31/12                                                       55611

 49          Utility (Cam)                                         Russian Fed               Filed          INFB 200043RU01   2014112221          08/31/12                                                       55608

 50          Utility (Cam)                                         Thailand                  Filed          INFB 200043TH01   1401001039          08/31/12                                                       55609

 51          Utility (Cam)                                         US                        Filed          INFB 200043US01   14/241,476          02/27/14                                                       55610

 52          Utility (Cam)                                         Philipines                Filed          INFB 200043PH01   1-2014-500459       08/31/12                                                       55607

 53          Utility (Cam)                                         Canada                    Filed          INFB 200043CA01   2847176             08/31/12                                                       55601

 54          Utility (Cam)                                         China P.R.                Filed          INFB 200043CN01   201280053357.5      08/31/12                                                       55603

 55          Utility (Cam)                                         EPC                       Filed          INFB 200043EP01   12828773.7          08/31/12                                                       55602

 56          Confirmation                                          Hong Kong                 Docketed       INFB 200043HK01                                                                                      56257

 57          Utility (Cam)                                         Japan                     Filed          INFB 200043JP01   PCT/US2012/053351   08/31/12                                                       55604

 58          Utility (Cam)                                         Mexico                    Filed          INFB 200043MX01   PCT/US2012/053351   08/31/12                                                       55605

 59          Utility (Cam)                                         New Zealand               Filed          INFB 200043NZ01   622689              08/31/12                                                       55606

 60          Utility (Cam)                                         Australia                 Filed          INFB 200043AU01   2012301695          08/31/12                                                       55600

 61          Utility (Cam)                                         Brazil                    Filed          INFB 200022BR01   BR112013022972-1    03/02/12                                                       54502

 62          Utility (Cam)                                         Mexico                    Filed          INFB 200022MX01   PCT/US2012/-27380   03/02/12                                                       54503

 63          Utility (Cam)                                         S. Africa                 Granted        INFB 200022ZA01   2013/06729          03/02/12      2013/06729        05/28/14                       54504

 64          Design (Cam)                                          China P.R.                Granted        INFB 200093CN01   201230044122        03/01/12      302287435         01/16/13                       49787

 65          Design (Cam)                                          European Community Design Granted        INFB 200093ED01   2001925             03/02/12      002001925-0001    03/02/12   03/02/37            49786

 66          Design (Cam)                                          European Community Design Granted        INFB 200093ED02   2001925             03/02/12      002001925-0002    03/02/12   03/02/37            50020

 67          Design (Cam)                                          European Community Design Granted        INFB 200093ED03   2001925             03/02/12      002001925-0003    03/02/12   03/02/37            50024

 68          Design (Cam)                                          European Community Design Granted        INFB 200093ED04   2001925             03/02/12      002001925-0004    03/02/12   03/02/37            50025

 69          Design (Cam)                                          European Community Design Granted        INFB 200093ED05   2001925             03/02/12      002001925-0005    03/02/12   03/02/37            50026

 70          Design (Cam)                                          European Community Design Granted        INFB 200093ED06   2001925             03/02/12      002001925-0006    03/02/12   03/02/37            50027

 71          Design (Cam)                                          European Community Design Granted        INFB 200093ED07   2001925             03/02/12      002001925-0007    03/02/12   03/02/37            50028

 72          Design (Cam)                                          US                        Granted        INFB 200093US01   29/413,966          02/23/12      D,685,242         07/02/13                       49785

 73          Provisional                                           US                        Inactive       INFB 200044USP1   61/482,463          05/04/11                                   05/04/12            47659

 74          Provisional                                           US                        Inactive       INFB 200022USP1   61/449,902          03/08/11                                   03/07/12            48330

 75          Provisional (Blades w/Opposing Teeth)                 US                        Inactive       INFB 200046USP1   61/483,267          05/06/11                                   05/06/12            48697

 76          Provisional (Dual RECIP Apparatuses)                  US                        Inactive       INFB 200050USP1   61/560,457          11/16/11                                   11/16/12            49244

 77          Provisional (Dual RECIP Apparatuses)                  US                        Inactive       INFB 200049USP1   61/547,092          10/14/11                                   10/14/12            49013

 78          Provisional (Saw & Saw Blade)                         US                        Inactive       INFB 200043USP1   61/529,372          08/31/11                                   08/31/12            48537

 79          Provisional (Saw Blade Technology (OPPOSING TEETH))   US                        Inactive       INFB 200023USP1   61/450,244          03/08/11                                   03/08/12            48331

 80          Utility                                               China P.R.                Filed          INFB 200119CN04   201210105628.9      04/11/12                                                       53131


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 81          Utility Model                              China P.R.              Granted         INFB 200120CN03   201220450374.X      09/05/12      ZL201220450374.X   03/27/13                       53132

 82          Utility Model                              China P.R.              Granted         INFB 200122CN01   201220288226.2      06/15/12      ZL201220288226.2   03/27/13                       53134

 83          Utility Model                              China P.R.              Granted         INFB 200124CN01   201220449801.2      09/05/12      ZL201220449801.2   03/27/13                       53136

 84          Utility (Dual Recip)                       New Zealand             Filed           INFB 200022NZ01   605650              03/02/12                                                        52212

 85          Utility (Dual Recip)                       Taiwan                  Filed           INFB 200022TW01   UNKNOWN             03/07/12                                                        49971

 86          Utility (Dual Recip)                       US                      Filed           INFB 200022US01   13/394,671          10/31/13                                                        49972

 87          Utility (Dual Recip)                       Russian Fed.            Filed           INFB 200022RU01   2012146192          03/02/12                                                        49973

 88          Utility (Dual Recip)                       Canada                  Granted         INFB 200022CA01   2770435             03/02/12      2770435            02/11/14                       49974

 89          Utility (Dual Recip)                       China P.R.              Filed           INFB 200022CN01   2012280000126.8     03/02/12                                                        49975

 90          Utility (Dual Recip)                       Australia               Filed           INFB 200022AU01   2012202705          03/02/12                                                        49976

 91          Utility (Dual Recip)                       Japan                   Filed           INFB 200022JP01   2013-557764         03/02/12                                                        49977

 92          Utility (Dual Recip)                       EPC                     Filed           INFB 200022EP01   12706430.1          03/02/12                                                        49978

 93          Utility (Dual Recip)                       Patent Cooperation      Inactive        INFB 200022WO01   PCT/US2012/027380   03/02/12                                                        49747

 94          Utility ( Wobble Aparatus )                Patent Cooperation      Filed           INFB 200125WO01   PCT/US2013/039632   05/06/13                                                        53496

 95          Utility (Electric)                         China P.R.              Filed           INFB 200123CN00   201210325320.5      09/05/12                                                        53135

 96          Utility (Quick Assembly and Disassembly)   China P.R.              Inactive        INFB 200121CN02   201210199592.5      06/15/12                                                        53133

 97          Utility (Saw & Saw Blade)                  Patent Cooperation      Inactive        INFB 200043WO01   PCT/US2012/053351   08/31/12                                                        51720

 98      OSC SAW
 99          Design (OSC Blades)                        Australia               Granted         INFB 200134AU01   110132014           03/05/14      354650             03/31/14                       55622

100          Design (OSC Blades)                        Australia               Granted         INFB 200134AU02   110142014           03/05/14      354651             03/31/14                       55717

101          Design (OSC Blades)                        Australia               Granted         INFB 200134AU03   110052014           03/05/14      354552             03/25/14                       55718

102          Design (OSC Blades)                        Australia               Granted         INFB 200134AU04   110062014           03/05/14      354648             03/31/14                       55719

103          Design (OSC Blades)                        Australia               Granted         INFB 200134AU05   110122014           03/05/14      354649             03/31/14                       55720

104          Design (OSC Blades)                        Canada                  Filed           INFB 20013C4U01   155467              03/04/14                                                        55623

105          Design (OSC Blades)                        China P.R.              Filed           INFB 200134CN01   201430041578.2      03/05/14                                                        55624

106          Design (OSC Blades)                        European Community      Filed           INFB 200134ED01   002418616-0001      03/05/14                                                        55625

107          Design (OSC Blades)                        European Community      Filed           INFB 200134ED02   002418616-0002      03/05/14                                                        55865

108          Design (OSC Blades)                        European Community      Filed           INFB 200134ED03   002418616-0003      03/05/14                                                        55866

109          Design (OSC Blades)                        European Community      Filed           INFB 200134ED04   002418616-0004      03/05/14                                                        55867

110          Design (OSC Blades)                        European Community      Filed           INFB 200134ED05   002418616-0005      03/05/14                                                        55868

111          Design (OSC Blades)                        Japan                   Filed           INFB 20013CJP01   2014-004704         03/05/14                                                        55645

112          Design (OSC Blades)                        Mexico                  Filed           INFB 200134MX01   MX/f/2014/00710     03/04/14                                                        55626

113          Design (OSC Blades)                        New Zealand             Filed           INFB 200134NZ01   418572              03/05/14                                                        55627

114          Design (OSC Blades)                        New Zealand             Inactive        INFB 200134NZ02   418573              03/05/14                                                        55721

115          Design (OSC Blades)                        New Zealand             Granted         INFB 200134NZ03   418574              03/05/14      418574             03/25/14                       55722

116          Design (OSC Blades)                        New Zealand             Granted         INFB 200134NZ04   418575              03/05/14      418575             03/25/14                       55727

117          Design (OSC Blades)                        New Zealand             Granted         INFB 200134NZ05   418571              03/05/14      418571             03/25/14                       55723

118          Design (OSC Blades)                        Philpipines             Filed           INFB 200134PH01   3-2014-000213       03/04/14                                                        55628

119          Design (OSC Blades)                        Russian Federation      Filed           INFB 200134RU01   2014500858          03/05/14                                                        55629

120          Design (OSC Blades)                        Thailand                Filed           INFB 200134TH01   1402000411          03/05/14                                                        55630



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121          Design (OSC Blades)                                       Thailand                Filed           INFB 200134TH02   1402000412          03/05/14                                                      55724

122          Design (OSC Blades)                                       Thailand                Filed           INFB 200134TH03   1402000413          03/05/14                                                      55725

123          Design (OSC Blades)                                       Thailand                Filed           INFB 200134TH04   1402000414          03/05/14                                                      55726

124          Design (OSC Blades)                                       US                      Filed           INFB 200134US01   29/483,771          03/03/14                                                      55540

125          Design (OSC Blades)                                       S. Africa               Filed           INFB 200134ZA01   A2014/00412         03/05/14                                                      55632

126          Design                                                    Russian Federation      Filed           INFB 200129RU01   2014501027          03/17/14                                                      55797

127          Design                                                    Thailand                Filed           INFB 200129TH01   1402000500          03/14/14                                                      55799

128          Design                                                    S. Africa               Filed           INFB 200129ZA01   F2014/00464         03/17/14                                                      55798

129          Design                                                    Australia               Filed           INFB 200129AU01   11193/2014          03/14/14                                                      55790

130          Design                                                    Canada                  Filed           INFB 200129CA01   155623              03/13/14                                                      55795

131          Design                                                    China P.R.              Filed           INFB 200129CN01   201430052850.7      03/17/14                                                      55794

132          Design                                                    European Community      Granted         INFB 200129ED01   002425587           03/14/14      002425587-0001   05/08/14                       55793

133          Design                                                    Japan                   Filed           INFB 200129JP01   2014-005613         03/17/14                                                      55792

134          Design                                                    Mexico                  Filed           INFB 200129MX01   14/0848             03/13/14                                                      55796

135          Design                                                    New Zealand             Filed           INFB 200129NZ01   418602              03/14/14                                                      55791

136          Design                                                    Philipines              Filed           INFB 200129PH01   3-2014-000247       03/14/14                                                      55800

137          Utility                                                   Australia               Filed           INFB 200031AU01   2012245536          04/19/12                                                      54760

138          Utility                                                   New Zealand             Filed           INFB 200031NZ01   616790              04/19/12                                                      54766

139          Design                                                    US                      Granted         INFB 200129US01   29/467,218          09/17/13      D705,027         05/20/14                       54584

140          Utility                                                   US                      Filed           INFB 200031US01   14/112,556          12/02/13                                                      54768

141          Utility                                                   Canada                  Filed           INFB 200031CA01   2833584             04/19/12                                                      54761

142          Utility                                                   Japan                   Filed           INFB 200031JP01   2014-506531         04/19/12                                                      54764

143          Confirmation                                              Hong Kong               Docketed        INFB 200031HK01                                                                                     56256

144          Utility                                                   Mexico                  Filed           INFB 200031MX01   MX/a/2013/012159    04/19/12                                                      54765

145          Utility                                                   China P.R.              Filed           INFB 200031CN01   201280029964.8      04/19/12                                                      54762

146          Utility                                                   EPC                     Filed           INFB 200031EP01   12773663.5          04/19/12                                                      54763

147          Utility                                                   Russian Fed             Filed           INFB 200031RU01   2013151797          04/19/12                                                      54767

148          Provisional                                               US                      Inactive        INFB 200031USP1   61/477,805          04/21/11                                  04/21/12            48339

149          Utility                                                   Patent Cooperation      Inactive        INFB 200031WO01   PCT/US2012/034168   04/19/12                                                      49998

150      JIG SAW
151          Confirmation                                              Hong Kong               Docketed        INFB 200025HK01                                                                                     56581

152          Provisional                                               US                      Inactive        INFB 200025USP1   61/450,232          03/08/11                                  03/08/12            48333

153          Utility                                                   Patent Cooperation      Inactive        INFB 200025WO01   PCT/US2012/02072    02/29/12                                                      49749

154          Utility                                                   China P.R.              Filed           INFB 200025CN01   201280022209.7      02/29/12                                                      54506

155      HOLE SAW
156          Provisional                                               US                      Inactive        INFB 200024USP1   61/450,225          03/08/11                                  03/08/12            48332

157          Provisional (Hole Saw Bit Technology (Blade W/I Blade))   US                      Inactive        INFB 200026USP1   61/450,232          03/08/11                                                      48334

158          Utility                                                   Patent Cooperation      Inactive        INFB 200024WO01   PCT/US2012/026923   02/28/12                                                      49748

159          Utility                                                   China P.R.              Filed           INFB 200024CN01   201280022203.X      02/28/12                                                      54505

160      DRAWER ORGANIZER
161          Provisional                                               US                      Inactive        INFB 200028USP3   61/778,735          03/13/13                                                      53166


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162          Provisional                                        US                        Inactive         INFB 200028USP2   61/610,088      03/13/12                                  03/13/13            50013

163          Provisional                                        US                        Inactive         INFB 200028USP1   61/453,738      03/17/11                                  03/17/12            48336

164      BATHROOM SCRUBBER

165          Provisional                                        US                        Inactive         INFB 200027USP2   61/610,084      03/13/12                                  03/13/13            50012

166          Provisional                                        US                        Inactive         INFB 200027USP1   61/453,742      03/17/11                                  03/17/12            48335

167      DUAL GROUT SCRUBBER
168          Provisional                                        US                        Inactive         INFB 200029USP2   61/610,093      03/13/12                                  03/13/13            50014

169          Provisional                                        US                        Inactive         INFB 200029USP1   61/453,734      03/17/11                                  03/17/12            48337

170      JUICER
171          Design                                             US                        Docketed         HOSH 200008US01                                                                                 48601

172          Design                                             US                        Docketed         HOSH 200009US01                                                                                 48600

173          Design                                             European Community Design Granted          HOSH 200008ED01   001575119       07/08/09      001575119-0001   08/26/09   07/08/34            48342

174          Design                                             European Community Design Granted          HOSH 200009ED01   001575143       07/08/09      001575143-0001   08/26/09   07/08/34            48343

175          Utility (Portable Vacuum Juicer)                   US                        Inactive         HOSH 200007US01   12/595,028      08/29/11                                                      48328

176      MANUAL GRINDING AND SHARPENING OF CUTTING IMPLEMENTS

177          Utility                                            Spain                     Inactive         INFB 200021ES01   200502365       09/21/05      2270728          04/01/07   09/21/25            48329

178      METHOD & PROCESS FOR BROADCASTING VIDEO
179          Provisional                                        US                        Inactive         INFB 200002USP1   61/500,844      06/24/11                                  06/24/12            48124

180      PORTABLE FITNESS CHAIR

181          Provisional                                        US                        Inactive         INFB 200048US01   13/331,762      12/20/11                                                      49012

182      POWERED NAIL CARE SYSTEM
183          Provisional                                        US                        Inactive         INFB 200030USP2   61/610,097      03/13/12                                  03/13/13            50015

184          Provisional                                        US                        Inactive         INFB 200030USP1   61/453,712      03/17/11                                  03/17/12            48338

185      SCENTED PILLOW LINER

186          Design                                             US                        Inactive         INFB 200098US01   29/328,451      11/24/08      D595,524         07/07/09   07/07/23            50158

187          Utility                                            US                        Inactive         INFB 200099US01   12/350,058      01/07/09                                                      50159

188          Utility                                            US                        Inactive         INFB 200099US02   Division                                                                      50160

189      SHAMPAW
190          Utility                                            EPC                       Inactive         INFB 200109EP01   12004692.5      06/22/12                                                      50829

191    TRADEMARKS
192      DUALSAW
193          Dual Saw Logo                                      Canada                    Filed            INFB 500009CA02   1662532         02/04/14                                                      33640

194          Dual Tools Logo                                    China P.R.                Docketed         INFB 500127CN01                                                                                 33866

195          DualTools Logo                                     US                        Filed            INFB 500127US01   86/016,459      07/22/13                                                      31877

196          DualTools Logo                                     EU                        Filed            INFB 500127EU01   012 027 496     07/31/13                                  07/31/23            31874

197          DualTools Logo                                     Japan                     Registered       INFB 500127JP01   2013-57699      07/24/13      5635953          12/06/13   12/06/23            31875

198          DualTools Logo                                     Australia                 Filed            INFB 500127AU01   1570295         07/23/13                                                      31876

199          DualTools Logo                                     New Zealand               Registered       INFB 500127NZ01   981363          07/23/13      981363           01/24/14   07/23/23            31957

200          DualTools Word Mark (Intent to Use)                US                        Filed            INFB 500126US01   86/016,422      07/22/13                                                      31870

201          DualTools Word Mark                                EU                        Filed            INFB 500126EU01   012 025 888     07/31/13                                  07/23/23            31871

202          DualTools Word Mark                                Japan                     Filed            INFB 500126JP01   2013-57698      07/24/13

203          DualTools Word Mark                                Australia                 Filed            INFB 500126AU01   1570300         07/23/13                                  07/23/23            31872

204          DualTools Word Mark                                New Zealand               Inactive         INFB 500126NZ01   981364          07/23/13                                  07/23/23            31956


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205          Destroyer                                 Community Trademark      Docketed          INFB 500101EM01                                                                                28599

206          Destroyer (Intent to Use)                 US                       Registered        INFB 500101US01   85/596,315      04/12/12      4,365, 712      07/09/13   07/09/23            28317

207          Destruct With a Purpose (Intent to Use)   US                       Inactive          INFB 500103US01   85/615,301      05/03/12                                                     28351

208          Dual                                      China P.R.               Registered        INFB 500118CN01   10914569        05/15/12      10914569        08/21/13   08/20/23            31306

209          Dual Saw                                  China P.R.               Docketed          INFB 500128CN01                                                                                33865

210          Dual Saw                                  EU                       Filed             INFB 500128EU01   012127561       07/31/13                                 07/31/23            31958

211          Dual Saw                                  Russian Federation       Inactive          INFB 500128RU01                                                                                31971

212          Dual Saw                                  Australia                Registered        INFB 500128AU01   1578055         09/02/13      1578055         05/21/14   09/02/23            32062

213          Dual Saw                                  South Africa             Filed             INFB 500009ZA01   2012/32706      11/30/12                                 11/30/22            31181

214          Dual Saw                                  International (Madrid    Docketed          INFB 500009IB01                                                                                28229

215          Dual Saw                                  UK                       Inactive          INFB 500009UK01   m 2012 08044    05/11/12                                 05/11/22            32045

216          Dual Saw                                  Thailand                 Filed             INFB 500009TH01   839266          03/12/12                                 03/11/22            28230

217          Dual Saw                                  EU                       Registered        INFB 500009EM03   010675651       02/27/12      010675651       03/13/14   02/28/22            28235

218          Dual Saw                                  Mexico                   Inactive          INFB 500009MX01   1213019         09/21/11                                 09/21/21            27687

219          Dual Saw                                  Brazil                   Filed             INFB 500009BR01   831199610       09/02/11                                                     27688

220          Dual Saw                                  Japan                    Registered        INFB 500009JP01   2011-63429      09/02/11      5545181         12/21/12   12/21/22            27689

221          Dual Saw                                  China P.R.               Inactive          INFB 500009CN01   9424408         05/05/11                                                     27613

222          Dual Saw                                  EU                       Registered        INFB 500009EM02   009502361       11/05/10      009502361       01/04/12   11/30/20            28191

223          Dual Saw                                  EU                       Registered        INFB 500009EM01   008282667       05/06/09      008282667       08/09/10   05/31/19            27614

224          Dual Saw                                  US                       Registered        INFB 500009US01   77/721,470      04/24/09      3936242         03/29/11   03/29/21            27611

225          Dual Saw (Intent to Use)                  Russian Federation       Filed             INFB 500009RU01   2012715211      05/11/12                                                     29421

226          Dual Saw (Intent to Use)                  Australia                Filed             INFB 500009AU01   1475056         02/16/12                                 02/16/22            28231

227          Dual Saw (Intent to Use)                  Canada                   Inactive          INFB 500009CA01   1540873         08/23/11                                                     27690

228          Dual Saw (Intent to Use)                  US                       Registered        INFB 500009US02   85/171,478      11/08/10      4068472         12/06/11   12/06/21            27612

229          DualSaw                                   US                       Registered        INFB 500008US01   77/721,489      04/24/09      3898459         01/04/11   01/04/21            27610

230          Dualsaw.com (Domain Name)                 Japan                    Registered        INFB 500105JP01   316082          04/26/12      316082          04/26/12   04/26/14            28372

231          Dualsaw.jp (Domain Name)                  Japan                    Registered        INFB 500104JP01   315310          04/19/12      315310          04/19/12   04/19/14            28373

232          Omni DualSaw (Words)                      EU                       Registered        INFB 500045EM01   008311466       05/20/09      008311466       12/03/09   05/31/19            27701

233          Omni DualSaw Infomercial (Copyright)      US                       Reigistered       INFB 900039US01   UNKNOWN         09/15/09      PAu-003417133   09/15/09                       27602

234          Omni DualSaw Logo                         Canada                   Inactive          INFB 500010CA01   1466230         01/19/10      TMA794907       04/06/11   04/06/26            27616

235          Omni DualSaw Logo                         China P.R.               Filed             INFB 500010CN01   7655154         08/28/09                                                     27697

236          Omni DualSaw Logo (Intent to Use)         US                       Inactive          INFB 500010US01   77/721,540      04/24/09                                                     27615

237          Quad Force                                US                       Registered        INFB 500014US01   85/025,594      04/28/10      3927009         03/01/11   03/01/21            27620

238          Rifle                                     China P.R.               Inactive          INFB 500108CN01                                                                                28593

239          Rifle                                     Community Trademark      Registered        INFB 500108EM01   10985778        06/22/12      010985778       11/16/12   06/30/22            28590

240          Rifle                                     Japan                    Registered        INFB 500108JP01   2012-50507      06/22/12      5539939         11/30/12   11/30/22            28589

241          Rifle                                     Russian Federation       Inactive          INFB 500108RU01   2012721119/71   06/22/12                                 06/22/22            28587

242          Rifle (intent to Use)                     US                       Inactive          INFB 500108US01   85/656,847      06/20/12                                                     28586

243          Rifle (Intent to Use)                     Canada                   Inactive          INFB 500108CA01   1583269         06/20/12                                                     28592

244          Rifle Saw                                 Australia                Registered        INFB 500110AU01   1499577         06/28/12      1499577         02/11/13   06/28/22            28594


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                                                                                                                                                                     EXPIRATION/
                                                                                                                            APPLICATION                   GRANTED                   MASTER
      TYPE                                       COUNTRY                 STATUS       =   DOCKET #          APPLICATION #   DATE          PATENT/REG #    DATE       RENEWAL        ID
                                                                                                                                                                     DATE
245          Rifle Saw                           China P.R.              Inactive         INFB 500110CN01                                                                                28822

246          Rifle Saw                           Community Trademark     Registered       INFB 500110EM01   11012838        07/04/12      011012838       12/03/12   07/31/22            28825

247          Rifle Saw                           Japan                   Inactive         INFB 500110JP01   2012-53488      07/03/12                                                     28823

248          Rifle                               New Zealand             Registered       INFB 500110NZ01   961304          06/28/12      961304          01/04/13   06/28/22            28588

249          Rifle Saw                           Russian Federation      Inactive         INFB 500110RU01   2012723315      07/10/12                                 07/10/22            28824

250          Rifle Saw                           Thailand                Inactive         INFB 500110TH01   854496          07/13/12                                 07/12/22            28591

251          Rifle Saw (Intent to Use)           US                      Inactive         INFB 500110US01   85/666,835      07/02/12                                                     28820

252          Rifle Saw (Intent to Use)           Canada                  Inactive         INFB 500110CA01   1584545         07/03/12                                                     28821

253      STARTWIN
254          Dual Force                          Canada                  Inactive         HOSH 500002CA01   1457416         10/30/09                                                     27608

255          Dual Force                          US                      Registered       HOSH 500002US01   77/857,410      10/26/09      4014348         08/23/11   08/23/21            27607

256          Dual Force                          EU                      Registered       HOSH 500002EM01   008545725       09/14/09      008545725       03/16/10   09/30/19            27609

257          Star Twin                           Philippines             Inactive         HOSH 500004PH01   4-2008-010023   09/18/08      4-2008-010023   01/19/09   01/19/19            27632

258          Star Twin                           China P.R.              Registered       HOSH 500004CN01   6903610         08/18/08      6903610         04/28/11   04/27/21            27631

259          Star Twin                           China P.R.              Registered       HOSH 500004CN02   6903612         08/18/08      6903612         05/21/10   05/20/20            27636

260          Star Twin                           China P.R.              Registered       HOSH 500004CN03   6903613         08/18/08      6903613         08/21/10   08/20/20            27637

261          Star Twin                           Canada                  Registered       HOSH 500004CA01   1407456         08/15/08      TMA817382       02/10/12   02/10/27            27635

262          Star Twin                           Japan                   Registered       HOSH 500004JP01   2008-067306     08/15/08      5235155         05/29/09   05/29/19            27633

263          Star Twin                           US                      Registered       HOSH 500004US01   77/546,818      08/14/08      3704217         11/03/09   11/03/19            27630

264          Star Twin                           EU                      Registered       HOSH 500004EM01   006676373       02/18/08      006676373       01/22/09   02/28/18            27634

265          StarFold                            EU                      Registered       HOSH 500011EM01   005749254       03/12/07      005749254       03/06/08   03/31/17            27698

266          StarTwin (Words)                    China P.R.              Docketed         HOSH 500010CN01                                                                                27699

267          StarTwin (Words)                    Japan                   Inactive         HOSH 500010JP01   2011-63428      09/02/11                                                     27700

268          StarTwin The Dual Force Logo        Canada                  Inactive         HOSH 500003CA01   1457417         10/30/09                                                     27628

269          StarTwin The Dual Force Logo        US                      Inactive         HOSH 500003US01   77/857,382      10/26/09                                                     27627

270          StarTwin The Dual Force Logo        EU                      Registered       HOSH 500003EM01   008598013       10/06/09      008598013       07/23/12   10/31/19            27629

271      BHUKHANWALA TMS
272          BHUKHANWALA TMS
273      COLD FIRE
274          Cold Fire Artwork (copyright)       US                      Registered       INFB 900037US01   UNKNOWN         03/31/10      VAu-001019258   03/31/10                       27600

275          Cold Fire Commercial (Copyright)    US                      Registered       INFB 900038US01   UNKNOWN         03/24/10      PAu-003445577   03/24/10                       27601

276      D.O.C / DRAIN
277          D.O.C Your Prescription for Clean   US                      Filed            INFB 500005US01   85/338,922      06/06/11                                                     27605

278          DOC (Intent to Use)                 US                      Registered       INFB 500056US01   85/510,079      01/06/12      4310244         03/26/13   03/26/23            28028

279          Drain Doctor (Intent to Use)        US                      Registered       INFB 500065US01   85/513,935      01/11/12      4310275         03/26/13   03/26/23            28046

280          Drain Dr. (Intent to Use)           US                      Inactive         INFB 500066US01   85/513,920      01/11/12                                                     28047

281          Insane Drain (Intent to Use)        US                      Inactive         INFB 500058US01   85/510,083      01/06/12                                                     28030

282      DUAL CLEAN
283          Dual Clean (Intent to Use)          US                      Inactive         INFB 500006US01   85/281,470      03/30/11                                                     27606

284      FASHION SAFARI
285          Fashion Safari (Intent to Use)      US                      Inactive         FASA 500002US01   85/003,054      03/31/10                                                     27617

286      FUSE


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                                                                                                                                                                       EXPIRATION/
                                                                                                                               APPLICATION                  GRANTED                   MASTER
      TYPE                                          COUNTRY               STATUS     =    DOCKET #          APPLICATION #      DATE          PATENT/REG #   DATE       RENEWAL        ID
                                                                                                                                                                       DATE
287          Fuse (Intent to Use)                   US                    Inactive        INFB 500012US01   85/299,153         04/19/11                                                    27618

288      JUICER

289          Vacuum Juicer                          Community Trademark   Incative        HOSH 500006EM01   010218436          08/25/11                                08/31/21            27686

290          Vacuum Juicer (intent to Use)          Canada                Inactive        HOSH 500006CA01   1542024            09/01/11                                                    27685

291          Vacuum Juicer (Intent to Use)          US                    Incative        HOSH 500006US01   85/405,977         08/24/11                                                    27684

292          Vacuum Juicer Logo                     Community Trademark   Inactive        HOSH 500005EM01   008245367          04/27/09      008245367      11/14/09   04/30/19            27638

293      LOCALADLINK
294          Local Ad Link                          US                    Inactive        INFB 500013US01   77/667,701         02/10/09      3830136        08/10/10   08/10/20            27619

295      SEXCELLENCE
296          Sexcellence                            Canada                Inactive        INFB 500015CA01   1477641            04/20/10                                                    27625

297          Sexcellence                            US                    Inactive        INFB 500015US02   85/016,997         04/19/10                                                    27622

298          Sexcellence                            US                    Inactive        INFB 500015US01   85/014,429         04/15/10                                                    27621

299          Sexcellence                            Community Trademark   Inactive        INFB 500015EM01   00914465           04/08/10      009014465      03/08/11   04/30/20            27624

300          Sexcellence                            Australia             Inactive        INFB 500015AU01                                                                                  27626

301          Sexcellence                            Russian Fed.          Inactive        INFB 500015RU01                                                                                  27623

302      SLEEP WITH ME
303          Sleep With Me                          Community Trademark   Docketed        INFB 500004EM01                                                                                  27604

304          Sleep With Me                          Germany               Inactive        INFB 500004DE01   30211042812.3/20   07/29/11                                07/31/21            27599

305          Sleep With Me (Intent to Use)          US                    Inactive        INFB 500004US01   85/246,302         02/18/11                                                    27603

306      SNORERX

307          Scentsations Science (Intent to Use)   US                    Inactive        INFB 500068US01   85/513,948         01/11/12                                                    28050

308          SnoreRx (Intent to Use)                US                    Inactive        INFB 500053US01   85/479,904         11/23/11                                                    27955

309      WINE HARVEST
310          Wine Harvest                           US                    Inactive        INFB 500019US01   77/726,773         05/01/09      3811941        06/29/10   06/29/20            27639




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DomainName               TLD      ExpirationDate       Status   Privacy   Locked
ASTVINC.COM              .com              3/21/2018   Active   Public    Locked
BESTDUALSAW.COM          .com              1/25/2019   Active   Public    Locked
BEVIPOD.COM              .com              7/22/2019   Active   Public    Locked
BEVIPOD.INFO             .info             7/22/2018   Active   Public    Locked
BEVIPOD.NET              .net              7/22/2018   Active   Public    Locked
BEVIPOD.ORG              .org              7/22/2018   Active   Public    Locked
BEVIPODS.COM             .com              7/22/2019   Active   Public    Locked
BEVIPODS.INFO            .info             7/22/2018   Active   Public    Locked
BEVIPODS.NET             .net              7/22/2018   Active   Public    Locked
BEVIPODS.ORG             .org              7/22/2018   Active   Public    Locked
bevpods.net              .net               7/1/2019   Active   Public    Locked
BUYCERAFIT.COM           .com            11/14/2018    Active   Public    Locked
BUYDUALSAW.CA            .ca             12/10/2022    Active   Public    Locked
BUYDUALSAW.COM           .com            11/13/2018    Active   Public    Locked
BUYDUALSAW.NET           .net               1/5/2019   Active   Public    Locked
BUYDUALTOOLS.COM         .com              2/21/2018   Active   Public    Locked
BUYDUELSAW.COM           .com               1/5/2019   Active   Public    Locked
BUYPERFECTPOLISHER.COM   .com              11/8/2019   Active   Public    Locked
BUYWONDERWEAVE.COM       .com              11/5/2018   Active   Public    Locked
CELEBRITEDIET.COM        .com              6/27/2018   Active   Public    Locked
CELEBRITEDIET.TV         .tv               6/27/2018   Active   Public    Locked
CELEBRITEDIETS.COM       .com              6/27/2018   Active   Public    Locked
CELEBRITEDIETS.TV        .tv               6/27/2018   Active   Public    Locked
cocktailpods.com         .com               7/1/2019   Active   Public    Locked
cocktailpods.info        .info              7/1/2019   Active   Public    Locked
cocktailpods.net         .net               7/1/2019   Active   Public    Locked
cocktailpods.org         .org               7/1/2019   Active   Public    Locked
COOKINGWITHRONCO.COM     .com              4/24/2018   Active   Public    Locked
CUCHILLOSRONCO.COM       .com              2/11/2019   Active   Public    Locked
DESTROYER-SAW.COM        .com            10/11/2018    Active   Public    Locked
DESTROYERSAW.COM         .com            10/11/2018    Active   Public    Locked
DIYSHOPPINGCHANNEL.COM   .com              8/13/2018   Active   Public    Locked
DOCCLEAN.COM             .com              6/16/2019   Active   Public    Locked
DOCCLEAN.DE              .de               8/26/2018   Active   Public    Locked
DOCCLEANER.COM           .com              6/16/2019   Active   Public    Locked
DUAL-DESTROYER.COM       .com            10/11/2018    Active   Public    Locked
DUAL.TOOLS               .tools            7/30/2019   Active   Public    Locked
DUALBUFFER.COM           .com              2/21/2019   Active   Public    Locked
DUALDESTROYER.COM        .com            10/11/2018    Active   Public    Locked
DUALDESTROYERSAW.COM     .com            10/11/2018    Active   Public    Locked
DUALHARDWARE.COM         .com              11/8/2018   Active   Public    Locked
DUALHARDWARE.NET         .net              11/8/2018   Active   Public    Locked
DUALPOLISHER.COM         .com              2/21/2018   Active   Public    Locked
DUALSAW.CA               .ca             11/21/2022    Active   Public    Locked
DUALSAW.CO               .co               7/14/2018   Active   Public    Locked
DUALSAW.COM              .com              9/29/2018   Active   Public    Locked
DUALSAW.COM.MX            .com.mx     1/7/2020   Active    Public   Locked
DUALSAW.INFO              .info     10/22/2018   Active    Public   Locked
DUALSAW.ME                .me         1/7/2020   Active    Public   Locked
DUALSAW.NET               .net      10/22/2018   Active    Public   Locked
DUALSAW.ORG               .org      11/21/2018   Active    Public   Locked
DUALSAW.TV                .tv         1/7/2020   Active    Public   Locked
DUALSAW.US                .us        7/14/2018   Active    Public   Locked
DUALSAW450.COM            .com       7/15/2018   Active    Public   Locked
DUALSAW650.COM            .com       7/15/2018   Active    Public   Locked
DUALSAWBLADE.COM          .com       9/22/2018   Active    Public   Locked
DUALSAWBLADES.COM         .com       9/22/2018   Active    Public   Locked
DUALSAWCANADA.COM         .com       4/29/2018   Active    Public   Locked
DUALSAWCANADA.NET         .net       4/29/2018   Active    Public   Locked
DUALSAWCS450.COM          .com       7/15/2018   Active    Public   Locked
DUALSAWCS650.COM          .com       7/15/2018   Active    Public   Locked
DUALSAWDESTROYER.COM      .com      10/11/2018   Active    Public   Locked
DUALSAWEVERYDAY.COM       .com       7/15/2018   Active    Public   Locked
DUALSAWGIVEAWAY.COM       .com        5/7/2019   Active    Public   Locked
DUALSAWMEXICO.COM         .com       4/29/2018   Active    Public   Locked
DUALSAWMEXICO.NET         .net       4/29/2018   Active    Public   Locked
DUALSAWPROFESSIONAL.COM   .com       7/15/2018   Active    Public   Locked
DUALSAWQUADFORCE.COM      .com        6/1/2020   Active    Public   Locked
DUALSAWSPANISH.COM        .com       4/29/2018   Active    Public   Locked
DUALSAWSPANISH.NET        .net       4/29/2018   Active    Public   Locked
DUALSAWSTORE.COM          .com       4/10/2018   Active    Public   Locked
DUALTOOL.COM              .com        4/5/2018   Active    Public   Locked
DUALTOOLS.CA              .ca        3/31/2019   Active    Public   Locked
DUALTOOLS.CO              .co         1/6/2020   Active    Public   Locked
DUALTOOLS.CO.UK           .co.uk      1/7/2020   Update penPublic   Locked
DUALTOOLS.COM             .com       7/25/2018   Active    Public   Locked
DUALTOOLS.COM.MX          .com.mx     1/7/2020   Active    Public   Locked
DUALTOOLS.EU              .eu        1/31/2020   Active    Public   Locked
DUALTOOLS.INFO            .info       1/7/2020   Active    Public   Locked
DUALTOOLS.ORG             .org        1/7/2020   Active    Public   Locked
DUALTOOLS.US              .us         1/6/2020   Active    Public   Locked
DUALTOOLSTRADESHOW.COM    .com       7/22/2019   Active    Public   Locked
DUELSAW.CA                .ca       12/10/2022   Active    Public   Locked
DUELSAW.COM               .com      10/22/2018   Active    Public   Locked
EDIETS.COM                .com      11/21/2018   Active    Public   Locked
EDIETSAFFILIATE.COM       .com        9/1/2018   Active    Public   Locked
EDIETSAFFILIATES.COM      .com        9/1/2018   Active    Public   Locked
EDIETSCENTRAL.COM         .com       8/20/2018   Active    Public   Locked
EDIETSFOOD.COM            .com       7/26/2018   Active    Public   Locked
EDIETSFRESH.COM           .com       8/13/2018   Active    Public   Locked
EDIETSINTERNATIONAL.COM   .com       8/24/2018   Active    Public   Locked
EDIETSLIVE.COM            .com       7/26/2018   Active    Public   Locked
EDIETSONLINE.COM          .com       7/12/2018   Active    Public   Locked
FRESHCHEFDIRECT.COM        .com     11/9/2018   Active   Public    Locked
GLYCEMICIMPACT.COM         .com      4/7/2018   Active   Public    Locked
GLYCEMICIMPACTDIET.COM     .com      4/7/2018   Active   Public    Locked
HOLLYMADISONDIET.COM       .com      4/1/2018   Active   Public    Locked
HOLLYMADISONSDIET.COM      .com      4/1/2018   Active   Public    Locked
HOLLYMDIET.COM             .com      4/1/2018   Active   Public    Locked
HOLLYSDIGITALDIET.COM      .com     4/17/2018   Active   Public    Locked
HOLLYSWEIGHTLOSS.COM       .com      4/1/2018   Active   Public    Locked
INFUSIONBRANDS.COM         .com    11/15/2018   Active   Private   Unlocked
INSUSIONBRANDS.COM         .com     5/19/2021   Active   Public    Locked
MYDUALSAW.COM              .com     4/10/2018   Active   Private   Locked
MYEDIETS.COM               .com     5/10/2018   Active   Public    Locked
NEWDUALSAW.COM             .com     11/2/2018   Active   Public    Locked
OS2500.COM                 .com     7/10/2019   Active   Public    Locked
OS3000.COM                 .com     7/10/2019   Active   Public    Locked
partyoven.com              .com      7/1/2019   Active   Public    Locked
partyoven.info             .info     7/1/2019   Active   Public    Locked
partyoven.net              .net      7/1/2019   Active   Public    Locked
partyoven.org              .org      7/1/2019   Active   Public    Locked
partyoven.us               .us      6/30/2019   Active   Public    Locked
PASTAWIZARD.CA             .ca      6/30/2018   Active   Public    Locked
PASTAWIZARD.COM            .com     1/26/2019   Active   Public    Locked
PERFECTPOLISHER.COM        .com     11/8/2019   Active   Public    Locked
pizzaandmoreovens.com      .com      8/4/2018   Active   Public    Locked
pizzaandpartyoven.com      .com      7/1/2019   Active   Public    Locked
pizzaandpartyoven.info     .info     7/1/2019   Active   Public    Locked
pizzaandpartyoven.net      .net      7/1/2019   Active   Public    Locked
pizzaandpartyoven.org      .org      7/1/2019   Active   Public    Locked
pizzaandpartyoven.us       .us      6/30/2019   Active   Public    Locked
pizzapartyoven.com         .com      7/1/2019   Active   Public    Locked
pizzapartyoven.info        .info     7/1/2019   Active   Public    Locked
pizzapartyoven.net         .net      7/1/2019   Active   Public    Locked
pizzapartyoven.org         .org      7/1/2019   Active   Public    Locked
pizzapartyoven.us          .us      6/30/2019   Active   Public    Locked
POCKETFISHERMAN.CA         .ca      6/30/2018   Active   Public    Locked
POCKETFISHERMAN.COM        .com     5/30/2018   Active   Public    Locked
READYGRILL.CA              .ca      6/30/2018   Active   Public    Locked
READYGRILL.COM             .com     9/19/2018   Active   Public    Locked
ronco.com                  .com     12/4/2018   Active   Public    Locked
RONCOCOOKWARE.COM          .com    11/14/2018   Active   Public    Locked
RONCOCUTLERY.CA            .ca      6/30/2018   Active   Public    Locked
RONCOCUTLERY.COM           .com      1/6/2019   Active   Private   Locked
RONCOCUTTLERY.CA           .ca      6/30/2018   Active   Public    Locked
RONCOEASY.COM              .com     9/29/2018   Active   Public    Locked
RONCOEZ.COM                .com     9/29/2018   Active   Public    Locked
roncopizzapartyoven.com    .com      7/1/2019   Active   Public    Locked
roncopizzapartyoven.info   .info     7/1/2019   Active   Public    Locked
roncopizzapartyoven.net   .net     7/1/2019   Active    Public   Locked
roncopizzapartyoven.org   .org     7/1/2019   Active    Public   Locked
roncopizzapartyoven.us    .us     6/30/2019   Active    Public   Locked
RONCOREADY.COM            .com     9/3/2019   Active    Public   Locked
RONCOREADYGRILL.COM       .com    2/12/2018   Expired   Public   Locked
RONCOWONDER.COM           .com    8/28/2018   Active    Public   Locked
RONCOWONDERBROOM.COM      .com     9/2/2019   Active    Public   Locked
RONCOWONDERWEAVE.COM      .com     9/2/2019   Active    Public   Locked
smootheepods.com          .com     7/1/2019   Active    Public   Locked
smoothiepods.info         .info    7/1/2020   Active    Public   Locked
smoothiepods.net          .net     7/1/2019   Active    Public   Locked
smoothiepods.org          .org     7/1/2019   Active    Public   Locked
smoothypods.com           .com     7/1/2019   Active    Public   Locked
TRYDUALSAW.COM            .com    4/10/2018   Active    Public   Locked
TRYHOLLYSDIET.COM         .com     4/1/2018   Active    Public   Locked
2fabfoodies.com           .com     7/4/2018   Active    Public   Locked
cd3.com                   .com    4/29/2018   Active    Public   Locked
cd3storage.com            .com    8/26/2018   Active    Public   Locked
threefabfoodies.com       .com     7/4/2018   Active    Public   Locked
Trademarks Pending                 Application Number


Spir-O-Matic                                   87518189

Chop & Roll                                    87518070

Turbo 360 Rotating Dehydrator                  87518179

Hydro Pure Water Vac                           87544089

Personal Chef Pressure Cooker                  87518095

Personal Chef Bread Maker                      87518116

DOUBLE-UP WAFFLE PRO                           87518150

CONVERTIVAC                                    87518209

2-in-1 Steam Vac                               87544044

Pasta Pro                                      87544110




Live Trademarks w/Recent Filings

Ronco                                          77433233
Dial-O-Matic                                   78980255
DUALSAW                                        77721489
But Wait…There's More                          78861195
Ronco Ready                                   87-975,616
                                                                         Ronco Operating Patent Portfolio


Name                                  Patent / Design number
BARBEQUE GRILL SPIT ASSEMBLY                                   6658991
COUNTERTOP ROTISSERIE OVEN WITH WAR                            7225729
DUAL SPIT ROTISSERIE ASSEMBLY & MET                            6240838
ENCLOSED ROTISSERIE WITH ADDED CONV                            6988445
ENCLOSED ROTISSERIE WITH DETACHABLE                            7021204
FOOD COOKING ROTISSERIE                                        6837150
HEATING AND VENTING ARRANGEMENT FOR                            7878111
HORIZONTAL ROTISSERIE OVEN                                     6742445
ROTISSERIE AND SPIT ASSEMBLY                                   6568315
ROTISSERIE COOKER                                              7424849
ROTISSERIE OVEN HAVING HORIZONTALLY                            7514651
ROTISSERIE OVEN HAVING HORIZONTALLY                            6965095
SPIT ASSEMBLY FOR ROTISSERIE OVEN                              6536334
SPIT ASSEMBLY SUPPORT BASE                                     7225730
SPIT BASKET FOR ROTISSERIE OVEN                                6253665
SPIT ROD ASSEMBLY                                              6250214
SPIT ROD ASSEMBLY FOR ROTISSERIE OV                            6408742
VENTED COUNTERTOP ROTISSERIE OVEN                              7021203




                                                                                        5/8/2018            Page 1
                                                                        Ronco Patent Portfolio

Name                                     Patent / Design number
APPARATUS AND METHOD FOR CUTTING FOODS                      13/417099
DEVICE TO INJECT FOODS WITH SOLID O                           7681494
DEVICE TO LIFT, MOVE AND FLIP FOODS                           7065883
FOOD DEHYDRATOR DEVICE                                      13/417063
FOOD INJECTION DEVICE                                         2423987
FOOD INJECTION DEVICE                                         6578470
FOOD INJECTION DEVICE                                         6840161
METHOD OF USING A DEVICE TO LIFT, M                           7395602
METHOD OF USING A DEVICE TO LIFT, M                         12/169473
ROTISSERIE OVEN                                             13/417018
ROTISSERIE OVEN HAVING A SHAPED                               6450087
ROTISSERIE OVEN HAVING HORIZONTALLY                           7514651
ROTISSERIE OVEN HAVING HORIZONTALLY                           6965095
ROTISSERIE OVEN HAVING HORIZONTALLY                           7138609
ROTISSERIE OVEN HAVING HORIZONTALLY                  200580038583.00
ROTISSERIE OVEN HAVING HORIZONTALLY                   10-2007-7009071
ROTISSERIE OVEN HAVING HORIZONTALLY                   MX/A/07/003254
ROTISSERIE SPIT ATTACHMENT                                    6568316
ROTISSERIE OVEN HAVING HORIZONTALLY                         12/419784
ENCLOSED ROTISSERIE WITH DETACHABLE                        12/628932
SIMPLIFIED DEVICE TO QUICKLY COOK F                        12/821014
HEATING AND VENTING ARRANGEMENT FOR                        13/019199


Reviving
Abandoning/Not Reviving




                                                                                      5/8/2018   Page 1
 Fill in this information to identify the case:

 Debtor name          Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)              18-10511
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Capital 2 Thrive                              Describe debtor's property that is subject to a lien                $541,727.56
        Creditor's Name

        1801 Broadway, Suite 1350
        Denver, CO 80202
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Kaonoulu Ranch LLP                            Describe debtor's property that is subject to a lien                  $85,000.00                $24,422.53
        Creditor's Name                               Landlord Deposit
        3600 N. Capital of Texas
        Hwy, Suite 250
        Austin, TX 78746
        Creditor's mailing address                    Describe the lien
                                                      Landlord's Lien; Security Agreement; UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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 Debtor       Ronco Holdings, Inc.                                                                     Case number (if know)      18-10511
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   P2BInvestor, Inc.                              Describe debtor's property that is subject to a lien                 $1,063,757.10
       Creditor's Name
       1120 Lincoln Street, Suite
       100
       Denver, CO 80203
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement, UCC-1
                                                      Is the creditor an insider or related party?
       kmorgan@p2bi.com                                No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       June 1, 2015                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   RNC Investors LLC                              Describe debtor's property that is subject to a lien                       Unknown
       Creditor's Name
       1800 Route 34
       North Building 4, Suite
       404A
       Wall, NJ 07719
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed


 2.5   Shadron Stastney                               Describe debtor's property that is subject to a lien                     $272,072.91
       Creditor's Name

       392 Taylor Mills Road
       Marlboro, NJ 07746
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement, UCC-1
                                                      Is the creditor an insider or related party?
       slstastney@hotmail.com                          No
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 3
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 Debtor       Ronco Holdings, Inc.                                                                     Case number (if know)      18-10511
              Name

        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.6    William Moore                                 Describe debtor's property that is subject to a lien                     $299,397.21
        Creditor's Name
        1108 Lavaca Street, Suite
        110-340
        Austin, TX 78701
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement, UCC-1
        bill@firstfranklincapital.co                  Is the creditor an insider or related party?
        m                                              No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        January 1, 2017                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                            $2,261,954.78
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Laura L. Worsham
         Jones, Allen & Fuquay LLP                                                                             Line   2.3
         8828 Greenville Ave
         Dallas, TX 75243




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)          18-10511
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $38,550.29         $12,850.00
           Ana M. Garcia                                             Check all that apply.
           12819 Heinemann Drive                                      Contingent
           Austin, TX 78727                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $151.49        $151.49
           Angela Wise                                               Check all that apply.
           1500 E. Parmer Lane, Apt. 12                               Contingent
           Austin, TX 78753                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 26
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 Debtor       Ronco Holdings, Inc.                                                                            Case number (if known)   18-10511
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,311.75    $2,311.75
          Arthur Duran                                               Check all that apply.
          1202 Coaches Crossing                                       Contingent
          Pflugerville, TX 78660                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,090.42    $10,090.42
          Charles Dayment                                            Check all that apply.
          417 N. Heatherwilde Blvd.                                   Contingent
          Pflugerville, TX 78660                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,915.65    $1,915.65
          Cindi Reese                                                Check all that apply.
          2536 St. James Pl.                                          Contingent
          Round Rock, TX 78665                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,775.03    $5,775.03
          David Zuniga                                               Check all that apply.
          402 Suzzane Drive                                           Contingent
          Pflugerville, TX 78660                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 26
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 Debtor       Ronco Holdings, Inc.                                                                            Case number (if known)   18-10511
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,708.31    $1,708.31
          Dianne Michelle Rodriguez                                  Check all that apply.
          13730 FM 620 North, Apt. 727                                Contingent
          Austin, TX 78717                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,801.76    $1,801.76
          Dustin Rader                                               Check all that apply.
          20901 Keaney Hill Road                                      Contingent
          Pflugerville, TX 78660                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $206,000.00    Unknown
          Internal Revenue Service                                   Check all that apply.
          955 S. Springfield Avenue, Bldg A                           Contingent
          Springfield, NJ 07081                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $151,503.38    Unknown
          Internal Revenue Service -- Payroll                        Check all that apply.
          Tax                                                         Contingent
          P.O. Box 21126                                              Unliquidated
          Philadelphia, PA 19114-0326                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 26
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 Debtor       Ronco Holdings, Inc.                                                                            Case number (if known)   18-10511
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,870.12    $12,850.00
          James Atkinson                                             Check all that apply.
          501 Serenada Drive                                          Contingent
          Georgetown, TX 78628                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,247.19    $7,247.19
          Jason Feif                                                 Check all that apply.
          132 Amber Lane                                              Contingent
          Jarrell, TX 76537                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,979.18    $10,979.18
          Kyle Van Schoyck                                           Check all that apply.
          12449 Country White Cr.                                     Contingent
          Tampa, FL 33635                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,337.51    $6,337.51
          Lynn Anderson                                              Check all that apply.
          603 Pebblestone Walk Drive                                  Contingent
          Cedar Park, TX 78613                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 26
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 Debtor       Ronco Holdings, Inc.                                                                            Case number (if known)   18-10511
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $270.00    $270.00
          Melida Siles                                               Check all that apply.
          12304 Granton Cove                                          Contingent
          Austin, TX 78754                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $702.00    $702.00
          Morgan Jones                                               Check all that apply.
          1505 Silver oak Trail                                       Contingent
          Cedar Park, TX 78613                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,946.10    Unknown
          Nevada Department of Taxation                              Check all that apply.
          State of Nevada -- Sales/Use                                Contingent
          P.O. Box 52609                                              Unliquidated
          Phoenix, AZ 85072                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,386.12    $6,386.12
          Nicole Moyer                                               Check all that apply.
          1705 Southwestern Trail                                     Contingent
          Round Rock, TX 78664                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 26
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 Debtor       Ronco Holdings, Inc.                                                                            Case number (if known)   18-10511
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,996.26    $4,996.26
          Paja Sanchez                                               Check all that apply.
          5402 Musket Ridge                                           Contingent
          Austin, TX 78759                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $22,251.84    $12,850.00
          Ron Hunt                                                   Check all that apply.
          221 Buck Bend                                               Contingent
          Georgetown, TX 78628                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,349.13    $3,349.13
          Shannon Shelton                                            Check all that apply.
          3405 Crispin Hall Lane                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,610.00    $1,610.00
          Stacy Vu                                                   Check all that apply.
          1706 Paseo Corto Dr                                         Contingent
          Cedar Park, TX 78613                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 26
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 Debtor        Ronco Holdings, Inc.                                                                           Case number (if known)          18-10511
               Name

 2.23       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $12,816.14    $12,816.14
            William McNair                                           Check all that apply.
            1880 N. Austin Drive                                      Contingent
            Fayetteville, AR 72703                                    Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $11,757.62    $11,757.62
            William Moore                                            Check all that apply.
            1108 Lavaca Street, Suite 110-340                         Contingent
            Austin, TX 78701                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $238.16
           Absolute Systems                                                         Contingent
           7206 Winecup Hollow                                                      Unliquidated
           Austin, TX 78750                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $9,408.00
           AccuService                                                              Contingent
           1810 W 5000 South                                                        Unliquidated
           Salt Lake City, UT 84129                                                 Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,805.38
           Advantage Solutions                                                      Contingent
           P.O. Box 31001-1691                                                      Unliquidated
           Pasadena, CA 91110                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,704.94
          Air Craft, Inc.                                                     Contingent
          1916 Picadilly                                                      Unliquidated
          Round Rock, TX 78664                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Alissa Schneider                                                    Contingent
          P.O. Box 821                                                        Unliquidated
          Clearwater, FL 33757                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,012.22
          Allegro Response Teleservices                                       Contingent
          4301 William Cannon Drive                                           Unliquidated
          Suite B-150-179                                                     Disputed
          Austin, TX 78749
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,767.00
          Allen Lund Company, Inc.                                            Contingent
          P.O. Box 51083                                                      Unliquidated
          Los Angeles, CA 90051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $495.00
          AmeriScot Clean Inc.                                                Contingent
          3141 North Canal Drive                                              Unliquidated
          Palm Harbor, FL 34684                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $363.47
          AT&T Business Line                                                  Contingent
          P.O. Box 105414                                                     Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4266
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,640.12
          AT&T Business Services                                              Contingent
          P.O. Box 5019                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $605.87
          AT&T Mobility                                                       Contingent
          P.O. Box 6463                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,801.44
          AT&T Universal Card                                                 Contingent
          P.O. Box 78045                                                      Unliquidated
          Phoenix, AZ 85062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,100.00
          August Moon Productions                                             Contingent
          7813 N. Cameron Ave.                                                Unliquidated
          Montgomery, AL 36140                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $401.82
          Austin Technology Group                                             Contingent
          P.O. Box 170136                                                     Unliquidated
          Austin, TX 78717                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,221.68
          Avistone Tampa Flex, LLC                                            Contingent
          P.O. Box 740819                                                     Unliquidated
          Seal Beach, CA 90740                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0439
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Calhoun, Thomas + Matza LLP                                         Contingent
          9500 Arboretum Blvd., Suite 120                                     Unliquidated
          Austin, TX 78759                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,850.00
          Caputo Creative Inc.                                                Contingent
          13191 56th Ct.                                                      Unliquidated
          Suite 112                                                           Disputed
          Clearwater, FL 33760
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $831.78
          Cat's Creations Inc.                                                Contingent
          602 Pinewood Drive                                                  Unliquidated
          Dunedin, FL 34698                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,730.58
          Central Texas Refuse, Inc.                                          Contingent
          P.O. Box 18685                                                      Unliquidated
          Austin, TX 78760                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9609
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,890.86
          Chase Card Services                                                 Contingent
          P.O. Box 94014                                                      Unliquidated
          Palatine, IL 60094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,924.57
          CHINA-BASE NINGBO FOREIGN TRADE                                     Contingent
          CO., LTD                                                            Unliquidated
          No. 666 Tiantong South Road,                                        Disputed
          Yinzhou District, Ningbo
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          CKO Digital                                                         Contingent
          2449 South Blvd, Ste. 106                                           Unliquidated
          Houston, TX 77098                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $891.91
          CLEO Communications                                                 Contingent
          P.O. Box 15835                                                      Unliquidated
          Loves Park, IL 61132                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,522.50
          Commerce Technologies, Inc.                                         Contingent
          25736 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,965.03
          Contigo Technology, LLC                                             Contingent
          8127 Mesa Drive                                                     Unliquidated
          Suite B206-122                                                      Disputed
          Austin, TX 78759
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,811.56
          Cool Services Inc. (CSI)                                            Contingent
          Air Conditioning and Heating                                        Unliquidated
          1804 Bench Mark Drive                                               Disputed
          Austin, TX 78728
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $754.00
          Corporation Service Company                                         Contingent
          P.O. Box 13397                                                      Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $429.00
          CT Corporation                                                      Contingent
          P.O. Box 4349                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7262
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          D:E Creative Services                                               Contingent
          1905 N. Lamar Blvd , Suite 200                                      Unliquidated
          Austin, TX 78705                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,861.11
          Dahill                                                              Contingent
          P.O. Box 205354                                                     Unliquidated
          Dallas, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9958
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,000.00
          DeLange Leasing                                                     Contingent
          C/O Marshall T. Kitzner                                             Unliquidated
          993 Lenox Drive                                                     Disputed
          Lawrence Township, NJ 08648
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,267.58
          Dental Select                                                       Contingent
          P.O. Box 301680                                                     Unliquidated
          Dallas, TX 75303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $186.93
          Discover Card Services                                              Contingent
          P.O. Box 6103                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $177.12
          Duke Energy                                                         Contingent
          P.O. Box 1004                                                       Unliquidated
          Account No. 43841 13253                                             Disputed
          Charlotte, NC 28201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Dyatech, LLC                                                        Contingent
          805 S Wheatley St                                                   Unliquidated
          Ste 600                                                             Disputed
          Ridgeland, MS 39157
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,467.54
          Dynamics Southwest, Inc.                                            Contingent
          101 Southwestern Blvd.                                              Unliquidated
          Suite 298                                                           Disputed
          Sugar Land, TX 77478
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,263.61
          EMO TRANS                                                           Contingent
          Customized Global Logistics                                         Unliquidated
          2322 Grand Ave                                                      Disputed
          Baldwin, NY 11510
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,935.42
          Erickson Sales Inc.                                                 Contingent
          8046 Earl Ave NW                                                    Unliquidated
          Seattle, WA 98117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,355.00
          Extreme Reach                                                       Contingent
          28540 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Faith Marlow                                                        Contingent
          818 Eddy Street                                                     Unliquidated
          Lakeland, FL 33803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,352.04
          FedEx
          C/O Michael G. Null                                                 Contingent
          20208 W. Highway 71                                                 Unliquidated
          Austin, TX 78669-6461                                               Disputed
          Spicewood, TX 78669-6461
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,999.00
          FischTank                                                           Contingent
          C/O Marshall Coleman, PC                                            Unliquidated
          32 Broadway, Suite 1710                                             Disputed
          New York, NY 10004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Fly Buy Photography                                                 Contingent
          Kerry McNally                                                       Unliquidated
          1517 State Street Suite 203                                         Disputed
          Sarasota, FL 34236
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,850.00
          Foshan Genzhuo Electrical Appliances Co.                            Contingent
          No.18, Gongye 1st Road, Qingyuan Industr                            Unliquidated
          Leliu Town, Shunde District                                         Disputed
          Foshan City, Guangdong Province
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $520.10
          Foshan Shunde Smart Elect. Tech.
          No. 1 Heng Street, Changye Rd.                                      Contingent
          Ronggui Town                                                        Unliquidated
          Shunde, Foshan                                                      Disputed
          0757-26384885
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,736.00
          Frazier & Deeter                                                    Contingent
          1230 Peachtree Street NE, Suite 1500                                Unliquidated
          Atlanta, GA 30309                                                   Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,365.43
          Frederick Schulman                                                  Contingent
          400 Rella Blvd., Suite 301                                          Unliquidated
          Suffern, NY 10901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $391.32
          Frontline Edelston                                                  Contingent
          1540 E. Dundee Rd., Ste. 160                                        Unliquidated
          Palatine, IL 60074                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $224.50
          Genimex Shanghai                                                    Contingent
          9A, Catic Tower, No. 212, Jiangning Road                            Unliquidated
          Jing'an District, Shanghai 200041                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.00
          Gerry Granby, II                                                    Contingent
          5875 37th Ave N, Apt. 7                                             Unliquidated
          Saint Petersburg, FL 33710                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550.00
          Goodman Lang, Inc.                                                  Contingent
          2109 Wilder St. N                                                   Unliquidated
          Saint Paul, MN 55113                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guang Dong Xinbao Electrical
          Applicances Holdings Co., LTD                                       Contingent
          South Zhenghe Road, Leliu Town                                      Unliquidated
          Shunde District, Foshan City, Guangdong                             Disputed
          86-757-25333888
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Ronco Holdings, Inc.                                                                    Case number (if known)            18-10511
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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,512.65
          Haikou Baoxin Wooden Industry Co., Ltd.
          Nong Ke Suo, Bai Shui Tang Ind.                                     Contingent
          Xiuying District                                                    Unliquidated
          Haikou City, Hainan Province                                        Disputed
          86-898-68630861
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hand Air Express
          c/o Stephen S.V. Homrig                                             Contingent
          Barnett & Garcia                                                    Unliquidated
          3821 Juniper Trace, Suite 108                                       Disputed
          Austin, TX 78738
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $459.25
          Havas Edge                                                          Contingent
          2386 Faraday Avenue, Suite 200                                      Unliquidated
          Carlsbad, CA 92008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hellmann Worldwide Logistics                                        Contingent
          C/O Biehl & Biehl, Inc.                                             Unliquidated
          325 Fullerton Ave.                                                  Disputed
          Carol Stream, IL 60188
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,678.00
          HomeWorld Business                                                  Contingent
          C/O CMI Legal Forwarding Division                                   Unliquidated
          P.O. Box 28851                                                      Disputed
          Philadelphia, PA 19151-0851
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $141,695.80
          HQP Electric Industrial Co.,Ltd
          Unit B, 10/F , Chasegold Tower ,                                    Contingent
          100 Ma Tau Wai Road ,                                               Unliquidated
          To Kwa Wan, Hong Kong                                               Disputed
          (852) 2142-8378
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Idea                                                                Contingent
          2900 Crystal Drive                                                  Unliquidated
          Suite 500                                                           Disputed
          Arlington, VA 22202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Ronco Holdings, Inc.                                                                    Case number (if known)            18-10511
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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,480.00
          Intertek Testing Services NA Inc.                                   Contingent
          545 East Algonquin Road                                             Unliquidated
          Arlington Heights, IL 60005                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,900.00
          Inventa International
          Alameda dos Oceanos, 41-K21                                         Contingent
          1990-207                                                            Unliquidated
          Lisboa, Portugal                                                    Disputed
          351 21 315 09 07
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,969.60
          Jack Pot Manufacturer Corp.                                         Contingent
          8F., 338 Chung Ching N. Road Sec. 3                                 Unliquidated
          Taipei 103                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $705,000.00
          John C. Kleinert                                                    Contingent
          1800 Route 34 North Building 4                                      Unliquidated
          Suite 404A                                                          Disputed
          Wall, NJ 07719
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,967.70
          KAR Vista Business Park LLC
          C/O Susan E. Coleman                                                Contingent
          Burnett Plaza Suite 1600                                            Unliquidated
          801 Cherry St. Unit No. 1                                           Disputed
          Fort Worth, TX 76101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,772.50
          Legal & Compliance, LLC                                             Contingent
          330 Clematis Street #217                                            Unliquidated
          West Palm Beach, FL 33401                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,413.23
          LiveVision, LLC                                                     Contingent
          583 Whitford Hills Road                                             Unliquidated
          Exton, PA 19341                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,267.03
          MailFinance                                                         Contingent
          C/O Cohn & Dussi. LLC                                               Unliquidated
          500 West Cummings Park, Suite 2350                                  Disputed
          Woburn, MA 01801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $279,504.81
          Marcum LLP                                                          Contingent
          One SE Third Ave                                                    Unliquidated
          Suite 1100                                                          Disputed
          Miami, FL 33131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,625.00
          MVP Marketing & Design                                              Contingent
          111 Third Ave South                                                 Unliquidated
          Minneapolis, MN 55401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Neon Ambition, Inc.                                                 Contingent
          701 Brazos Street                                                   Unliquidated
          Suite 1616                                                          Disputed
          Austin, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,200.00
          Neustrel Attorneys at Law                                           Contingent
          2534 S. University Drive, Suite No. 4                               Unliquidated
          Fargo, ND 58103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,946.10
          Nevada Department of Taxation                                       Contingent
          State of Nevada - Sales/Use                                         Unliquidated
          555 E. Washington Ave, Suite 1300                                   Disputed
          Las Vegas, NV 89101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,230.76
          NINGBO DIKE ELECTRON CO., LTD.
          Xiaoan Zhouxiang Town                                               Contingent
          Cixi City, Zhejiang Province                                        Unliquidated
          Polly Chen                                                          Disputed
          86-18094511008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,469.17
          NINGBO HANPU TOOLS CO.,LTD.                                         Contingent
          Gangtou, Middle Street, Hengxi Town                                 Unliquidated
          Yinzhou District, Ningbo                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,682.59
          Ningbo Kaibo Group                                                  Contingent
          The Northern Industrial Park of                                     Unliquidated
          Zhouxiang                                                           Disputed
          Cixi 315324 Ningbo
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,012.84
          Ningbo Kaideli Electric Co., LTD                                    Contingent
          Binhai Industrial Zone, Xindian Town                                Unliquidated
          Ninghai, Zhejiang                                                   Disputed
          86 574 83510001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,033.36
          Ningbo Mascuge Import&Export CO.,Ltd                                Contingent
          Room801, Sundaze Building,578 Tiantong S                            Unliquidated
          Yinzhou District, Ningbo                                            Disputed
          86-574-56784631
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Nutrihand, Inc.                                                     Contingent
          274 Edgewood Rd                                                     Unliquidated
          Redwood City, CA 94062                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,252.89
          OneTouchPoint - Ginny's Printing                                    Contingent
          8410-B Tuscany Way                                                  Unliquidated
          Austin, TX 78754                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,607.55
          OrderLogix                                                          Contingent
          P.O. Box 6798                                                       Unliquidated
          Scarborough, ME 04070                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ronco Holdings, Inc.                                                                    Case number (if known)            18-10511
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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,200.00
          Paul Ryan LLC                                                       Contingent
          14704 HillShire Lane                                                Unliquidated
          Burnsville, MN 55306                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,833.14
          Porter, LeVay & Rose, Inc.                                          Contingent
          C/O Gottlieb Ostrager LLP                                           Unliquidated
          333 Westchester Ave, Ste S2205,                                     Disputed
          West Harrison, NY 10604
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Regional Online Marketing
          c/o Michael Ariyo                                                   Contingent
          1222 Ramsdel Street                                                 Unliquidated
          Port Charlotte, FL 33952                                            Disputed
          561-577-8671
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,245.14
          Ron Satija, Trustee
          C/O Brian T. Cumings                                                Contingent
          Graves Dougherty                                                    Unliquidated
          401 Congress Ave. Suite 2200                                        Disputed
          Austin, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,845.31
          SAFEQUIP                                                            Contingent
          10201 B. McKalla Place                                              Unliquidated
          Austin, TX 78758                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,233.94
          SAN A INDUSTRIAL LIMITED
          Room 1321, Hollywood Plaza,610 Nathan Ro                            Contingent
          Mongkok                                                             Unliquidated
          Kowloon, Hong Kong                                                  Disputed
          86-766-2890136
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,227.28
          Scribe Consulting                                                   Contingent
          11487 Oralane Dr.                                                   Unliquidated
          El Cajon, CA 92020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          Seescape Studios, Inc.                                              Contingent
          5712 S Bernie St                                                    Unliquidated
          Tampa, FL 33611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $543.04
          Solvairis                                                           Contingent
          555 West 5th Street, Suite 3100                                     Unliquidated
          Los Angeles, CA 90013                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,123.85
          SPS Commerce, Inc.
          C/O Law Offices of Nathan Neuman                                    Contingent
          National Judgment Investment Corp.                                  Unliquidated
          700 Lake Drive                                                      Disputed
          Ambler, PA 19002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,096.66
          Staff Force, Inc.                                                   Contingent
          P.O. Box 203664                                                     Unliquidated
          Dallas, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,946.52
          State of Texas                                                      Contingent
          Comptroller of Public Accounts                                      Unliquidated
          P.O. Box 149359                                                     Disputed
          Austin, TX 78714
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,258.32
          Taizhouhuangyan Antai Medical
          8# Huiming Road, Huangyan                                           Contingent
          Taizhou City                                                        Unliquidated
          Zhejiang                                                            Disputed
          8.66E+12
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,227.80
          TasteBud Entertainment, Inc                                         Contingent
          Jamie Gwen                                                          Unliquidated
          5 Auvergne                                                          Disputed
          Newport Coast, CA 92657
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          Taylor Rountree                                                     Contingent
          2308 Whispering Trails Pl                                           Unliquidated
          Winter Haven, FL 33884                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $940.24
          The Prop Shop and Space Place                                       Contingent
          12190 44th Street North Unit D                                      Unliquidated
          Clearwater, FL 33762                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,206.34
          Time Warner Cable                                                   Contingent
          P.O. Box 60074                                                      Unliquidated
          City of Industry, CA 91716                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2620
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,540.00
          Timothy Sellings                                                    Contingent
          SPRI Investigations                                                 Unliquidated
          34522 N. Scotsdale Rd. Suite 120-264                                Disputed
          Scottsdale, AZ 85262
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Travis County Tax Assessor-Collector                                Contingent
          c/o Bruce Elfant                                                    Unliquidated
          P.O. Box 1748
                                                                              Disputed
          Austin, TX 78767
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,054.10
          Triton Technologies, Inc.                                           Contingent
          115 Plymouth Street                                                 Unliquidated
          Mansfield, MA 02048                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          Trustpilot, Inc.                                                    Contingent
          C/O Caine & Weiner                                                  Unliquidated
          338 Harris Hill Road #206                                           Disputed
          Buffalo, NY 14221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,123.44
          TXU Energy                                                          Contingent
          P.O. Box 650764                                                     Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,827.44
          Uline Shipping Supplies                                             Contingent
          P.O. Box 88741                                                      Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,320.00
          Underwriters Laboratories Inc                                       Contingent
          P.O. Box 75330                                                      Unliquidated
          Chicago, IL 60675-5330                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.11
          UPS                                                                 Contingent
          Lockbox 577                                                         Unliquidated
          Carol Stream, IL 60132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,126.57
          UPS Supply Chain Solutions                                          Contingent
          28013 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,763.51
          US Bank                                                             Contingent
          P.O. Box 790408                                                     Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Vendecor Inc.                                                       Contingent
          5 Brumwell St.                                                      Unliquidated
          Scarborough, ON M1C 2K7                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 26
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 Debtor       Ronco Holdings, Inc.                                                                    Case number (if known)            18-10511
              Name

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          VGrill World, LLC                                                   Contingent
          C/O Jon E. Maki                                                     Unliquidated
          4135 Calle Isabelino                                                Disputed
          San Diego, CA 92130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,765.52
          Vican, Inc.                                                         Contingent
          1205 S. White Chapel Blvd., Ste. 100                                Unliquidated
          Southlake, TX 76092                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $205.44
          Waste Management Inc.                                               Contingent
          P.O. Box 105453                                                     Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1567
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wells Fargo Bank, NA                                                Contingent
          International Trade Operations                                      Unliquidated
          1525 West WT Harris Blvd., MAC D1109-011
          Charlotte, NC 28262-8522                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,725.07
          Welsh & McNamara Repacking                                          Contingent
          C/O Barnett & Garcia                                                Unliquidated
          3821 Jumiper Trace, Suite 108                                       Disputed
          Austin, TX 78738
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $678.00
          West End Promotions Ltd.                                            Contingent
          3-485 Bristol Road West                                             Unliquidated
          Mississauga, Ontario L5R 4G2                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,205.15
          Worldwide Express                                                   Contingent
          P.O. Box 26070                                                      Unliquidated
          Austin, TX 78755                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 23 of 26
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
 Debtor       Ronco Holdings, Inc.                                                                    Case number (if known)            18-10511
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $339.00
          WUXI XINJIA COMMODITY
          MANUFACTURING CO.,                                                  Contingent
          SHANGHAI                                                            Unliquidated
          Fiona                                                               Disputed
          (86)510-88353857
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.70
          WUYI JIAFEI HOUSEHOLD&LEISURE                                       Contingent
          hunaglong industry zone                                             Unliquidated
          wuyi city, zhejiang                                                 Disputed
          0086-579-87988686
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,909.56
          www.TVP. LLC                                                        Contingent
          Worldwide TV Products                                               Unliquidated
          13190 56th Court, Suite 405                                         Disputed
          Clearwater, FL 33760
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,071.35
          Xtreme Xhibits by Skyline Inc                                       Contingent
          9201 Metric Blvd                                                    Unliquidated
          Austin, TX 78758                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $486.00
          Yangzhou Jiuyang Fishing Tackle Co., LTD                            Contingent
          Shi Hu Chen Yangzhou                                                Unliquidated
          Jiangsu 225008                                                      Disputed
          86-514-87361056
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,229.07
          YRC Worldwide                                                       Contingent
          C/O Synter Resource Group, LLC                                      Unliquidated
          P.O. Box 63247                                                      Disputed
          North Charleston, SC 29419
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,397.50
          Yudell Isidore PLLC                                                 Contingent
          8911 N. Capital of TX Hwy                                           Unliquidated
          Suite 2110                                                          Disputed
          Austin, TX 78759
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 26
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 Debtor       Ronco Holdings, Inc.                                                                    Case number (if known)            18-10511
              Name

 3.123     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,072.36
           ZHUHAI FEILONG ELECTRIC APPLIANCE
           CO.,LT
           No. 3 Qiushi Avenue, Jinhai'an Industria                           Contingent
           Sanzao S&T industrial Park,                                        Unliquidated
           Zhuhai city, Guang Dong                                            Disputed
           86 - 756 - 7514138
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.124     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $73,000.00
           ZHUHAI LUCKYMAN TECHNOLOGY CO.
           LTD.
           C/O Andrew B. Totz                                                 Contingent
           Totz Ellison & Totz, P.C.                                          Unliquidated
           2211 Norfolk, Suite 510                                            Disputed
           Houston, TX 77098
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Internal Revenue Service -- Payroll Tax
           P.O. Box 21126                                                                             Line     2.9
           Philadelphia, PA 19114-0326
                                                                                                            Not listed. Explain

 4.2       Internal Revvenue Service
           955 S. Springfield Avenue, Bldg. A                                                         Line     2.9
           Springfield, NJ 07081
                                                                                                            Not listed. Explain

 4.3       James M. Bennett, Dep. Attorney General
           Division of Law - Debt Recovery Section                                                    Line     2.9
           P.O. Box 119
           Trenton, NJ 08625-0379                                                                           Not listed. Explain


 4.4       Kay D. Brock
           P.O. Box 1748                                                                              Line     3.99
           Austin, TX 78767-1748
                                                                                                            Not listed. Explain

 4.5       New Jersey Division of Taxation
           Bankruptcy Section                                                                         Line     2.9
           P.O. Box 245
           Trenton, NJ 08695-9902                                                                           Not listed. Explain


 4.6       Offices of Nathan Neuman
           National Judgment Investment Corp.                                                         Line     3.41
           700 Lake Drive
           Ambler, PA 19002-5084                                                                            Not listed. Explain


 4.7       Peter Di Sciascio
           Weinstock & O'Malley Law                                                                   Line     3.113
           105 White Oak Lane
           Old Bridge, NJ 08857                                                                             Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 25 of 26
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 Debtor       Ronco Holdings, Inc.                                                                Case number (if known)          18-10511
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.8       State of New Jersey - Dept. of Labor
           Bankruptcy Unit                                                                       Line      2.9
           P.O. Box 379
           Trenton, NJ 08625-0379                                                                      Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                    528,327.29
 5b. Total claims from Part 2                                                                        5b.    +    $                  2,334,316.89

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                    2,862,644.18




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 26 of 26
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 Fill in this information to identify the case:

 Debtor name         Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)         18-10511
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 8, 2018                             X /s/ William Moore
                                                                       Signature of individual signing on behalf of debtor

                                                                       William Moore
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)         18-10511
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Product License
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining                                            Conde Nast
                                                                                      c/o Advance Magazine Publishers Inc.
              List the contract number of any                                         One World Trade Center
                    government contract                                               New York, NY 10007


 2.2.         State what the contract or                  Amended and Restated
              lease is for and the nature of              Repayment Agreement
              the debtor's interest                       & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining
                                                                                      Frederick Schulman
              List the contract number of any                                         400 Rella Blvd., Suite 301
                    government contract                                               Suffern, NY 10901


 2.3.         State what the contract or                  International Product
              lease is for and the nature of              Rights Agreement
              the debtor's interest

                  State the term remaining
                                                                                      Inventel Products LLC
              List the contract number of any                                         300 Roundhill Drive, Suite 1
                    government contract                                               Rockaway, NJ 07866


 2.4.         State what the contract or                  Amended and Restated
              lease is for and the nature of              Repayment Agreement
              the debtor's interest                       & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining                                            John C. Kleinert
                                                                                      1800 Route 34 North Building 4
              List the contract number of any                                         Suite 404A
                    government contract                                               Wall, NJ 07719



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
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 Debtor 1 Ronco Holdings, Inc.                                                               Case number (if known)   18-10511
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Real Estate Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Kaonoulu Ranch LLP
             List the contract number of any                                         3600 N. Capital of Texas Hwy, Suite 250
                   government contract                                               Austin, TX 78746


 2.6.        State what the contract or                   Exclusive Product
             lease is for and the nature of               Rights Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Oak Lawn Marketing International Inc.
             List the contract number of any                                         745 McClintock Drive, Suie 220
                   government contract                                               Willowbrook, IL 60527


 2.7.        State what the contract or                   Amended and Restated
             lease is for and the nature of               Repayment Agreement
             the debtor's interest                        & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining
                                                                                     Par Managers, LLC
             List the contract number of any                                         400 Rella Blvd., Suite 301
                   government contract                                               Suffern, NY 10901


 2.8.        State what the contract or                   Amended and Restated
             lease is for and the nature of               Repayment Agreement
             the debtor's interest                        & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining                                           Pensco Trust Company, LLC
                                                                                     1800 Route 34
             List the contract number of any                                         North Building 4, Suite 404A
                   government contract                                               Wall, NJ 07719


 2.9.        State what the contract or                   Amended and Restated
             lease is for and the nature of               Repayment Agreement
             the debtor's interest                        & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining                                           RNC Investors LLC
                                                                                     1800 Route 34
             List the contract number of any                                         North Building 4, Suite 404A
                   government contract                                               Wall, NJ 07719




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
 Debtor 1 Ronco Holdings, Inc.                                                               Case number (if known)   18-10511
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.10.       State what the contract or                   Amended and Restated
             lease is for and the nature of               Repayment Agreement
             the debtor's interest                        & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining
                                                                                     Ronco Brands, Inc.
             List the contract number of any                                         15505 Long Vista Drive, Suite 250
                   government contract                                               Austin, TX 78728


 2.11.       State what the contract or                   Amended and Restated
             lease is for and the nature of               Repayment Agreement
             the debtor's interest                        & Assignment of
                                                          Royalties in Payment of
                                                          Debts
                  State the term remaining                                           RXR Holdings, LLC
                                                                                     1800 Route 34
             List the contract number of any                                         North Building 4, Suite 404A
                   government contract                                               Wall, NJ 07719


 2.12.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Shadron Stastney
             List the contract number of any                                         392 Taylor Mills Road
                   government contract                                               Marlboro, NJ 07746


 2.13.       State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           VGrill World, LLC
                                                                                     C/O Jon E. Maki
             List the contract number of any                                         4135 Calle Isabelino
                   government contract                                               San Diego, CA 92130


 2.14.       State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     William Moore
             List the contract number of any                                         1108 Lavaca Street, Suite 110-340
                   government contract                                               Austin, TX 78701




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)         18-10511
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Frederick                         400 Rella Blvd., Suite 301                       P2BInvestor, Inc.               D       2.3
             Schulmann                         Suffern, NY 10901                                                                 E/F
                                                                                                                                G



    2.2      John C. Kleinert                  1800 Route 34 North                              P2BInvestor, Inc.               D       2.3
                                               Building 4, Suite 404A                                                            E/F
                                               Wall, NJ 07719
                                                                                                                                G




    2.3      Shadron                           392 Taylor Mills Road                            P2BInvestor, Inc.               D       2.3
             Stastney                          Marlboro, NJ 07746                                                                E/F
                                                                                                                                G



    2.4      William Moore                     1108 Lavaca Street, Suite 110-340                Internal Revenue                D
                                               Austin, TX 78701                                 Service -- Payroll Tax           E/F        2.10
                                                                                                                                G



    2.5      William Moore                     1108 Lavaca Street, Suite 110-340                P2BInvestor, Inc.               D       2.3
                                               Austin, TX 78701                                                                  E/F
                                                                                                                                G



Official Form 206H                                                          Schedule H: Your Codebtors                                       Page 1 of 2
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 Debtor       Ronco Holdings, Inc.                                                      Case number (if known)   18-10511


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      William Moore                     1108 Lavaca Street, Suite 110-340             Capital 2 Thrive               D       2.1
                                               Austin, TX 78701                                                              E/F
                                                                                                                            G




Official Form 206H                                                       Schedule H: Your Codebtors                                     Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Ronco Holdings, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

 Case number (if known)         18-10511
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                            $100,000.00
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                          $6,157,372.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                         $10,094,135.87
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       For prior year:
       From 1/01/2017 to 12/31/2017                                                            Debt forgiveness                                  $674,846.19


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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       None.
       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Porter, LeVay & Rose, Inc. v.                     Contract/Collectio         Supreme Court of New York                    Pending
               Ronco Holdings, Inc.                              n                          County of Westchester                      On appeal
               58383/2017                                                                   111 Dr. Martin Luther King
                                                                                                                                       Concluded
                                                                                            Jr. Blvd
                                                                                            White Plains, NY 10601

       7.2.    VGrill World, LLC v. Ronco                        Arbitration -              JAMS/David Huebner                           Pending
               Holdings, Inc.                                    Contract                   555 W. 5th Street, 32nd                    On appeal
               1220056581                                                                   Floor
                                                                                                                                       Concluded
                                                                                            Los Angeles, CA 90013




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               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.3.    In the Matter of the General                      Assignment for            Superior Court of New                      Pending
               Assignment for the Benefit of                     the Benefit of            Jersey                                 On appeal
               Creditors of: Ronco Holdings,                     Creditors                 Chancery Division, Propate
                                                                                                                                  Concluded
               Inc. to Antthony Sodono, III,                                               Part
               Esq.                                                                        Bergen County
               P-090-18                                                                    Two Bergen County Plaza,
                                                                                           Suite 500
                                                                                           Hackensack, NJ 07601

       7.4.    Satija v. Ronco Holdings, Inc.,                   Breach of                 Bankr. W.D. Tex., Austin                   Pending
               et al.                                            Settlement                Division                               On appeal
               18-01018-TMD                                      Agreement                 Homer J. Thornberry
                                                                                                                                  Concluded
                                                                                           Federal Judicial Bld
                                                                                           903 San Jacinto Blvd., Suite
                                                                                           322
                                                                                           Austin, TX 78701

       7.5.    Hand Air Express v. Ronco                         Account & Sworn           Travis County District Court               Pending
               Holdings, Inc.                                    Account                   1000 Guadulupe Street                  On appeal
               D-1-GN-17-002031                                                            Austin, TX 78701
                                                                                                                                  Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None
       Custodian's name and Address                              Describe the property                                                 Value
       For the Benefit of All Creditors                          See Schedule A/B.
                                                                                                                                                       Unknown
       Anthony Sodono, III c/o Sari B.
       Placona                                                   Case title                                                            Court name and address
       Trenk, DiPasquale, Della, Fera &                          In re Ronco Holdings, Inc.                                            Superior Court of New
       Sodono                                                    Case number                                                           Jersey
       347 Mong Pleasant Ave., Suite 300                                                                                               Chancery Division,
       West Orange, NJ 07052                                     Date of order or assignment                                           Probate Part
                                                                 N/A                                                                   Bergan County
                                                                                                                                       Two Bergan County
                                                                                                                                       Plaza, Suite 500
                                                                                                                                       Hackensack, NJ 07601

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                         Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Gary K. Norgaard, Esq.
                 Norgaard O'Boyle
                 184 Grand Avenue
                 Englewood, NJ 07631                                 Attorney Fees                                             March 2018          $50,000.00

                 Email or website address
                 http://www.norgaardfirm.com

                 Who made the payment, if not debtor?
                 Justin H. Scheier, Esq.


       11.2.                                                                                                                   April 5,
                                                                                                                               2018
                 Kell C. Mercer                                                                                                ($10,000) &
                 Kell C. Mercer, PC                                                                                            April 22,
                 1602 E. Cesar Chavez Street                                                                                   2018
                 Austin, TX 78702                                    Attorney Fee/Retainer                                     ($25,000)           $35,000.00

                 Email or website address
                 kell.mercer@mercer-law-pc.com

                 Who made the payment, if not debtor?
                 Fred Schulmann



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                   Date transfer        Total amount or
                Address                                          payments received or debts paid in exchange              was made                      value


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               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 Par Managers, LLC
       .    400 Rella Blvd., Suite 301                           Assignment of Royalties in Payment of
               Suffern, NY 10901                                 Debt                                                    December 2017                  Unknown

               Relationship to debtor
               Designee of RNC Investors
               LLC, John C. Kleinart,
               Fredrick Schulman, Pensco
               Trust Company, LLC, and
               RXR Holdings, LLC


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Customer name and address, with list of product purchased.
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
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    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Shamrock Industries, LLC                                      Shamrock Industries,                 See Schedule A/B identifying          No
       4061 Hickory Hill                                             LLC                                  inventory.                            Yes
       Memphis, TN 38115

       Unique Freight Transport Inc.                                 Unique Freight Transport,            See Schedule A/B identifying          No
       175 East Manville Street                                      Inc.                                 inventory.                            Yes
       Compton, CA 90220



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Former Employees                                      Ronco Holdings, Inc.                 Various personal items - no                Unknown
                                                                     15505 Long Vista Drive,              comercial value.
                                                                     Suite 250
                                                                     Austin, TX 78701


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.


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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Ana M. Garcia                                                                                                              2011 to 2018
                    12819 Heinemann Drive
                    Austin, TX 78727
       26a.2.       Marcum LLP                                                                                                                 2014 to 2017
                    450 East Las Olas Boulevard, Ninth Floor
                    Fort Lauderdale, FL 33301

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Marcum LLP                                                                                                                 2014 to 2016
                    450 East Las Olas Boulevard, Ninth Floor
                    Fort Lauderdale, FL 33301

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


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           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.       Securities and Exchange Commission
                    100 F. Street, NE
                    Washington, DC 20549-2977

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Ana M. Garcia
       .                                                                                     January 2018            696131.24 (book)

                Name and address of the person who has possession of
                inventory records
                Ronco Holdings, Inc.
                15505 Long Vista Drive, Suite 250
                Austin, TX 78727


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William Moore                                  1108 Lavaca Street, Suite 110-340                   Director/President                    0%
                                                      Austin, TX 78701

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ronco Brands, Inc.                             15505 Long Vista Drive, Suite 250                   Corporate Parent (sole                100%
                                                      Austin, TX 78728                                    stockholder)



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Stephen Krout                                                                                      Senior Vice President             2016 to 1/2018




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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Ana M. Garcia                                  12819 Heinemann Drive                               VP - Accounting
                                                      Austin, TX 78727

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       James Atkinson                                 501 Serenada Drive                                  VP - Systems &
                                                      Georgetown, TX 78628                                Logsitics

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Charles Dayment                                417 N. Heatherwilde Blvd.                           VP - Digital Marketing
                                                      Pflugerville, TX 78660

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Ron Hunt                                       221 Buck Bend                                       VP - Engineering
                                                      Georgetown, TX 78628

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       William McNair                                 1880 N. Austin Drive                                VP - Supply Chain
                                                      Fayetteville, AR 72703


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 William Moore
       .    1108 Lavaca Street, Suite
               110-340                                                                                                   January to
               Austin, TX 78701                                  $137,709.88                                             October 2017      Salary

               Relationship to debtor
               President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Ronco Brands, Inc.                                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.

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    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 8, 2018

 /s/ William Moore                                                      William Moore
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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